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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


G.J., a Minor, by his Next Friend,
Andrea Jones;
                                         Case No.: 2:22-cv-11360
MASON BOURGEAU;
                                         District Judge Robert H. Cleland
G.A., a Minor, and S.A., a Minor,        Magistrate Judge Kimberly G. Altman
by their Next Friend, Shauna Aldred;

L.V., a Minor, by his Next Friend,       PLAINTIFFS’ AMENDED
April Ventline;                          COMPLAINT

J.E., a Minor, by his Next Friend,
Jennifer Caddick;

G.G., a Minor, by her Next Friend,
Mark Gillim;

A.F., a Minor, by her Next Friend,
Alicia Feltz;

G.F., a Minor, and B.F., a Minor,
by their Next Friend, Jack Flewelling;

A.G., a Minor, by her Next Friend,
Jacklyn Green;

J.C., a Minor, by his Next Friend,
Christine Nelson;

K.P., a Minor, by her Next Friend,
Jennifer Perez;

N.S., a Minor, by her Next Friend,
Scott Soule;
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H.P., a Minor, by his Next Friend,
Cintia Stoehr;

P.D., a Minor, and T.D., a Minor,
by their Next Friend, Kelli Diem;

J.B., a Minor, by her Next Friend,
Nichole Butler,

            Plaintiffs,

v.

OXFORD COMMUNITY SCHOOL DISTRICT;
KENNETH WEAVER, Superintendent, in his official
capacity; STEVEN WOLF, Principal; NICHOLAS EJAK,
Dean of Students; and SHAWN HOPKINS, Student Counselor,

             Defendants.
__________________________________________________________________
Manvir S. Grewal, Sr. (P48082)
Scott Weidenfeller (P56001)
GREWAL LAW, PLLC
Attorneys for Plaintiffs
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3rd Floor
Northville, MI 48167
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             There are four other lawsuits, as are identified below,
             that arise out of the same transaction or occurrence:

                 2:22-cv-11113-MAG-APP filed on 05/22/2022

                 2:22-cv-10805-TGB-KGA filed on 04/14/2022

                   2:22-cv-10407-SFC-CI filed on 02/24/2022

                 2:21-cv-12871-MAG-APP filed on 12/09/2021
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       COMPLAINT FOR EQUITABLE AND INJUNCTIVE RELIEF

      NOW COME Plaintiffs, G.J., a Minor, by his Next Friend, Andrea Jones;

MASON BOURGEAU; G.A., a Minor, by his Next Friend, Shauna Aldred; S.A., a

Minor, by her Next Friend, Shauna Aldred; L.V., a Minor, by his Next Friend, April

Ventline; J.E., a Minor, by his Next Friend, Jennifer Caddick; G.G., a Minor, by her

Next Friend, Mark Gillim; A.F., a Minor, by her Next Friend, Alicia Feltz; G.F., a

Minor, by her Next Friend, Jack Flewelling; B.F., a Minor, by her Next Friend, Jack

Flewelling; A.G., a Minor, by her Next Friend, Jacklyn Green; J.C., a Minor, by his

Next Friend, Christine Nelson; K.P., a Minor, by her Next Friend, Jennifer Perez;

N.S., a Minor, by her Next Friend, Scott Soule; H.P., a Minor, by his Next Friend,

Cintia Stoehr; P.D., a Minor, by her Next Friend, Kelli Diem; T.D., a Minor, by his

Next Friend, Kelli Diem; and J.B., a Minor, by her Next Friend, Nichole Butler, by

and through their attorneys, Grewal Law, PLLC, and for their Complaint against

Defendants state the following:

                                  INTRODUCTION

      On the morning of November 30, 2021, John Doe (“Doe”), a tenth grader at

Oxford High School, arrived at school in a suicidal state, posing a clear threat to

himself and others. Doe was armed with a handgun and forty-eight (48) rounds of

ammunition, which he kept hidden in his backpack. During Doe’s first hour class,

his English teacher reported to school officials that, during class, Doe had watched
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a video depicting a realistic shooting. Shortly thereafter, while in his second hour

class, Doe’s math teacher reported to school officials that, during class, Doe had

drawn disturbing words and violent images onto a paper assignment, including: “The

thoughts won’t stop. Help me . . . blood everywhere . . . My life is useless . . . The

world is dead.” In the weeks leading up to November 30, 2021, Doe had

demonstrated a concerning pattern of behavior, and, less than twenty-four (24) hours

prior to the school shooting, a teacher had observed Doe searching the internet,

during class, for information about bullets.

      As Doe sat in his second hour math class on November 30, 2021, his assigned

counselor, Shawn Hopkins (“Hopkins”), removed Doe from class, confiscated the

assignment that contained the disturbing words and violent illustrations, and lead

Doe to the counseling office for a meeting with Dean of Students Nicholas Ejak

(“Ejak”). At some point during that meeting, Ejak walked to Doe’s math classroom,

retrieved Doe’s backpack, and returned to the counseling office with the backpack

in hand.

      Ejak and Hopkins, during their meeting with Doe, determined Doe was

suicidal and was exhibiting signs of homicidal ideation. Later in the morning of

November 30, 2021, Ejak and Hopkins met with Doe’s parents and recommended

they take Doe from school. Ejak and Hopkins further advised Doe’s parents to retain

immediate mental health counseling for Doe. Doe’s parents refused to take Doe from


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school or to secure immediate mental health counseling, despite the suggestions of

Ejak and Hopkins. At that point, Ejak and Hopkins had the authority to keep Doe

confined in the safety and security of the counseling office. Rather, Ejak and

Hopkins used their authority to return Doe’s unsearched backpack, to grant a hall

pass to Doe, and to allow Doe to attend his remaining class periods unaccompanied.

      Less than two hours later, Doe carried his backpack into the boys’ bathroom,

emerged with his loaded handgun, and opened fire, tragically killing four students

and seriously injuring seven others. All Plaintiffs survived the shooting.

      Oxford Community School District (“Oxford CSD”) and its officials later

explained to the community that it was adhering to its formal policy of returning

students to class absent a “disciplinary” issue. Under Oxford CSD’s formal policy,

only in the presence of a “disciplinary” issue is it acceptable to either send home a

student or hold a student in the confinement of the counseling office. Oxford CSD

claims that, because Doe presented no such “disciplinary” issue, the only action it

could take was to return Doe to class.

      While Oxford CSD has denied knowing Doe was suicidal and harboring

homicidal ideation, in truth, Oxford CSD knew of Doe’s suicidal and possible

homicidal ideation when school officials released him from the counseling office.

Oxford CSD has advanced this “adherence to policy” explanation as a means to

cover up its culpability for this avoidable tragedy. As the facts illustrate, however,


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school officials escalated the danger to all students by releasing Doe from the

confinement of the counseling office after having gained knowledge of Doe’s

propensity to inflict harm upon himself or others. To date, Oxford CSD seeks to

evade accountability and transparency by way of manufacturing the false “adherence

to policy” narrative. In reality, the deliberate indifference of school officials as to

Doe’s troubled status as a suicidal youth, a student who had explicitly expressed

homicidal ideation, caused and/or increased the risk of violence, destruction, and

death on November 30, 2021.

      By releasing Doe from the safe confinement of the counseling office into the

greater school environment, school officials compounded the danger to all students

at Oxford High School. By returning Doe’s unsearched backpack, which contained

the deadly weapon and ammunition Doe used to carry out his suicidal and/or

homicidal plans, school officials acted with deliberate indifference and created

and/or increased the risk of a school shooting.

      At least two official policies, practices, and/or customs of Oxford CSD drove

school officials to act as they did: (1) Oxford CSD’s official, misguided policy that,

in the absence of a “disciplinary” issue, Ejak and Hopkins were required to return

Doe back to class, despite having knowledge Doe was experiencing suicidal and

homicidal ideation, and (2) Oxford CSD’s failure to train Ejak and Hopkins to hold

a student in the counseling office, or to otherwise restrict a student from returning to


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the classroom, where the student is experiencing suicidal and homicidal ideation and

where returning the student to the classroom environment would create and/or

increase the danger of deadly violence.

      Although Plaintiffs survived the shooting, they have suffered irreparable

harm. Every day since the tragedy that took place on November 30, 2021, students

at Oxford High School, including Plaintiffs, have entered through the school doors

assuming they will have to defend themselves should another violent attack ensue.

Unable to engage in classes and tackle the daily social and mental hurdles that many

often encounter in high school, students at Oxford High School have been forced to

uncover a level of resilience and a weight of constant fear that should be expected

of no one.

      Due to Oxford CSD’s complete lack of transparency and clear refusal to hold

itself accountable, Plaintiffs, under the most tragic of circumstances, bring this suit

as a final attempt to salvage what time remains of their high school careers. Seeking

transparency and a sense of security as they navigate the unknown, Plaintiffs bring

this action, not for damages, but for prospective equitable and injunctive relief to

restore their right to a full public education, a right that is protected as a property

interest under the Due Process Clause of the Fourteenth Amendment.

      Plaintiffs request this Honorable Court order the protection of Plaintiffs’

interests by ordering a fully transparent and independent third-party investigation


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into the events that lead up to the tragedy on November 30, 2021, and by taking

prospective measures to ensure Oxford CSD, as well as its administrators and staff,

comply with the constitutional obligations to safeguard the safety of students at

Oxford High School. Such prospective measures include, but are not limited to,

Oxford CSD training its administrators to refrain from releasing suicidal students

back into the classroom when they have probable cause to know that doing so will

result in deadly violence and promising complete transparency in all future

communications with parents and students at Oxford High School.

                         JURISDICTION AND VENUE

      1.     This action arises under the United States Constitution and the laws of

the United States, particularly the Fourteenth Amendment to the United States

Constitution and 42 U.S.C. § 1983 and § 1988.

      2.     This Court has jurisdiction over Plaintiffs’ federal claims pursuant to

28 U.S.C. §§ 1331, 1343(a)(3), 1343(a)(4), and 42 U.S.C. § 1983.

      3.     Venue is proper in the Eastern District of Michigan pursuant to 28

U.S.C. § 1391(b)(1) and (2) because all facts alleged in this Complaint took place in

Oakland County, Michigan, and the parties reside in the Eastern District of

Michigan.




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                                   PARTIES

      4.    G.J. is currently 17 years old and, at the time of the tragic school

shooting on November 30, 2021, was a junior at Oxford High School.

      5.    Mason Bourgeau is currently 18 years old and, at the time of the tragic

school shooting on November 30, 2021, was a junior at Oxford High School.

      6.    G.A. is currently 17 years old and, at the time of the tragic school

shooting on November 30, 2021, was a junior at Oxford High School.

      7.    S.A. is currently 15 years old and, at the time of the tragic school

shooting on November 30, 2021, was a freshman at Oxford High School.

      8.    L.V. is currently 17 years old and, at the time of the tragic school

shooting on November 30, 2021, was a senior at Oxford High School.

      9.    J.E. is currently 15 years old and, at the time of the tragic school

shooting on November 30, 2021, was a freshman at Oxford High School.

      10.   G.G. is currently 15 years old and, at the time of the tragic school

shooting on November 30, 2021, was a freshman at Oxford High School.

      11.   A.F. is currently 15 years old and, at the time of the tragic school

shooting on November 30, 2021, was a freshman at Oxford High School.

      12.   B.F. is currently 15 years old and, at the time of the tragic school

shooting on November 30, 2021, was a freshman at Oxford High School.




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      13.    G.F. is currently 16 years old and, at the time of the tragic school

shooting on November 30, 2021, was a sophomore at Oxford High School.

      14.    A.G. is currently 16 years old and, at the time of the tragic school

shooting on November 30, 2021, was a sophomore at Oxford High School.

      15.    J.C. is currently 17 years old and, at the time of the tragic school

shooting on November 30, 2021, was a senior at Oxford High School.

      16.    K.P. is currently 15 years old and, at the time of the tragic school

shooting on November 30, 2021, was a freshman at Oxford High School.

      17.    N.S. is currently 17 years old and, at the time of the tragic school

shooting on November 30, 2021, was a junior at Oxford High School.

      18.    H.P. is currently 17 years old and, at the time of the tragic school

shooting on November 30, 2021, was a junior at Oxford High School.

      19.    T.D. is currently 14 years old and, at the time of the tragic school

shooting on November 30, 2021, was a freshman at Oxford High School.

      20.    P.D. is currently 17 years old and, at the time of the tragic school

shooting on November 30, 2021, was a senior at Oxford High School.

      21.    J.B. is currently 17 years old and, at the time of the tragic school

shooting on November 30, 2021, was a senior at Oxford High School.

      22.    Minor Plaintiff G.G. resides in Lapeer County, Michigan, which is

located in the Eastern District of Michigan.


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      23.    All other Plaintiffs reside in Oakland County, Michigan.

      24.    As students enrolled at Oxford High School in the Oxford Community

School District, all Plaintiffs have a property interest, protected by the Due Process

Clause of the Fourteenth Amendment, in a full public education, and they have

standing to seek prospective equitable and injunctive relief from the Oxford

Community School District’s conduct to restore that property interest through court-

ordered measures to bring Oxford Community School District’s policies into

compliance with the Constitution.

      25.    As students enrolled at Oxford High School in the Oxford Community

School District, all Plaintiffs have a clearly established right, protected by the Due

Process Clause of the Fourteenth Amendment, to be free from danger created and/or

increased by state actors, and they have standing to seek prospective equitable and

injunctive relief from the conduct of all named Defendants to restore this right

through court-ordered measures to implement safety policies and measures that are

in compliance with the Constitution.

      26.    Defendant Oxford Community School District (“Oxford CSD”) is a

municipal corporation, organized in the Township of Oxford, Michigan. Defendant

Oxford CSD conducts all operations for Oxford High School, including but not

limited to funding; staffing; training; supervising the staff, counselors, and teachers




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at Oxford High School; and maintaining the safety and security facilities for the

education and welfare of students at Oxford High School.

      27.    Plaintiffs are suing Defendant Oxford CSD pursuant to 42 U.S.C. §

1983 for its official policies, practices, and customs, which were the motivating force

and cause-in-fact for the decision to return John Doe from the safety and security of

the counseling office to the classroom on November 30, 2021.

      28.    At all times relevant herein, Defendant Ken Weaver (“Weaver”) is and

was a citizen of the State of Michigan and is currently the Superintendent of Oxford

Community School District. Plaintiffs are suing Defendant Weaver in his official

capacity only. Plaintiffs are suing Defendant Weaver pursuant to 42 U.S.C. § 1983,

for both prospective equitable and injunctive relief, as he is the highest-ranking

official of Oxford Community School District and is responsible for ensuring the

District’s compliance with state and federal laws, including the Due Process Clause

of the Fourteenth Amendment.

      29.    At all times relevant herein, Defendant Steven Wolf (“Wolf”) is and

was a citizen of the State of Michigan and was acting under the color of state law

within the course and scope of his employment as Principal of Oxford High School

in the Oxford Community School District. Plaintiffs are suing Defendant Wolf

pursuant to 42 U.S.C. § 1983 for actions taken under color of law.




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       30.    At all times relevant herein, Defendant Nicholas Ejak (“Ejak”) is and

was a citizen of the State of Michigan and was acting under the color of state law

within the course and scope of his employment as Dean of Students of the Oxford

Community School District. Plaintiffs are suing Defendant Ejak pursuant to 42

U.S.C. § 1983 for actions taken under color of law.

       31.    At all times relevant herein, Defendant Shawn Hopkins (“Hopkins”) is

and was a citizen of the State of Michigan and was acting under the color of state

law within the course of his employment as a Counselor at Oxford High School in

the Oxford Community School District. Plaintiffs are suing Defendant Hopkins

pursuant to 42 U.S.C. § 1983 for actions taken under color of law.

                               STATEMENT OF FACTS

    A. An essential element in the operation of a school district, as well as an
       integral role in the job function of school administrators, is the
       maintenance of school safety and the protection of students from deadly
       violence.

       32.    From 2009 to 2019, school shootings occurred in over 177 schools in

the United States, resulting in 356 deaths.1 CNN’s investigation into ten (10) years

of shootings on K-12 campuses uncovered two truths: (1) school shootings are

increasing, and (2) no type of community is spared.




1
 Ten Years of School Shootings, CNN (July 2019)
https://www.cnn.com/interactive/2019/07/us/ten-years-of-school-shootings-trnd/.
                                              13
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      33.    In 2021 alone, there were 202 incidents of gunfire on school grounds,

resulting in 49 deaths and 126 injuries.2

      34.    It is well-established that, in previous mass shooting events, many

shooters were suicidal before the attack commenced.3

      35.    Specific to school shootings, a recent study of 134 schools and

attempted school shootings found that 91% of the shooters were students or former

students, 98% were males, 87% were in crisis prior to the shooting, and 80% were

suicidal before the attack.4

      36.    The State of Michigan, in recognition of the risks of school mass

shootings and gun violence, has enacted legislation mandating school districts adopt

school safety policies. This legislation includes the Child Protection Law, MCL

§777.621 (1975); Statewide School Safety Information Policy, MCL §380.1308

(1999); Mandatory incident reporting to state police for certain crimes occurring at

school, MCL §380.1308a (2019); Liaison for school safety commission

requirements, MCL §380.1241 (2019); Office of School Safety, MCL §28.681

(2019); Reporting of Crimes on the District’s Website, MCL §38.1310a (2000);


2
  Gunfire on School Grounds in the United States, EVERYTOWN RESEARCH & POLICY (2021)
https://everytownresearch.org/maps/gunfire-on-school-grounds/.
3
  Maggie Koerth, Can We Prevent Mass Shootings By Preventing Suicide? FIVETHIRTYEIGHT
(Aug. 22, 2019), https://fivethirtyeight.com/features/can-we-prevent-mass-shootings-by-
preventing-suicide/.
4
  Key Findings: Analysis of School and Workplace Shootings, THE VIOLENCE PROJECT, (2019
Data) https://www.theviolenceproject.org/mass-shooter-database-3/key-findings/.

                                            14
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Student Safety Act, MCL §752.911 (2000); Save Our Students Act, MCL §380.1893

(2020); Searching Student Lockers, MCL §380.1306 (2000); and Student in

Possession of a Dangerous Weapon, MCL §380.1313 (1987).

      37.    Tragically, gun violence in schools is a foreseeable risk that creates a

duty in school officials to confront and deescalate known threats of violence at

school, including school shootings.

      38.    As a matter of state and federal law, an essential element within the

duties of school administrators, teachers, and counselors is the minimization and/or

elimination of the risk of gun violence within our schools.

   B. Defendants took affirmative acts that created and increased the danger
      of the school shooting at Oxford High School on November 30, 2021.

      39.    On November 30, 2021, John Doe (“Doe”) was a fourteen-year-old

tenth-grade student at Oxford High School.

      40.    During the months leading up to the day of the school shooting, Oxford

High School and Oxford CSD teachers, counselors, and administrators knew of Doe

because of his various concerning behaviors, including but not limited to a depressed

mood, a disheveled/unkempt appearance, minimal participation in his classes, and

refusal to complete school assignments, which indicated psychiatric distress,

suicidality, and the possibility of child abuse or neglect.




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       41.    In or around May 2021, Defendant videotaped himself torturing and

killing animals, including a bird, which Doe decapitated. Doe proceeded to store the

decapitated bird head inside of a jar.

       42.    In or around August 2021, Doe videotaped himself holding a gun. Doe

then forwarded the video to an Oxford High School classmate, along with the

following message: “Now it’s time to shoot up the school! JK JK JK.”5 At that time,

in or around August 2021, the gun, a 22 caliber handgun, belonged to Doe’s father.

       43.    In or around Fall 2020, Doe’s freshman year, Defendant Hopkins was

assigned as Doe’s school counselor at Oxford High School.6 Defendant Hopkins

maintained the role of Doe’s assigned counselor during Fall 2021, Doe’s sophomore

year at Oxford High School.

       44.    Early in November 2021, Doe’s Spanish teacher sent an email to

Defendant Hopkins, explaining her concerns that Doe seemed “sad.”7




5
  Transcript of Preliminary Examination, Vol. I, The People of the State of Michigan v. James
Robert Crumbley and Jennifer Lyn Crumbley, (Nos. 21-006651-2; 2022-279989-90-FH) at
263:13-15.
at 45:24-46:4.
6
  Transcript of Preliminary Examination, Vol. II, The People of the State of Michigan v. James
Robert Crumbley and Jennifer Lyn Crumbley, (Nos. 21-006651-2; 2022-279989-90-FH) at
108:7-11.
7
  Id. at 108:21-24.
                                               16
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          45.     Defendant Hopkins conducted a check-in with Doe, advising Doe that

Defendant Hopkins was available should Doe need to talk to someone. In response,

Doe looked at Defendant Hopkins and said, “okay.”8

          46.     Approximately four (4) weeks prior to the devastating school shooting,

on November 4, 2021, a severed deer head was discovered on the grounds of Oxford

High School.

          47.     At that time, Defendant Wolf sent an email to parents “to clarify some

of the rumors that [had] started,” advising there was “no present danger at Oxford

High School.” He then explained that, “before school began,” administrators and

staff “identified graffiti” written in “red acrylic paint,” as well as “the head of a deer”

that had “likely [been] struck from a vehicle.” (Emphasis added).

          48.     On social media platforms, such as TikTok, students at Oxford High

School posted video footage of the red writing and of the deer head as a man,

presumably a member of the administration or staff at Oxford High School, carried

it across a courtyard at Oxford High School.

          49.     This occurrence, despite the attempted assurances of student safety in

Defendant Wolf’s email and in large part due to the ambiguity that surrounded the

abandonment of the severed deer head on school grounds, caused a level of concern

and anxiety amongst students, parents, and teachers of Oxford High School.


8
    Id. at 109:1-7.
                                             17
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        50.    On November 11, 2021, Doe carried to Oxford High School a severed

bird head, stored inside of a jar, and placed said jar inside the boys’ bathroom.9

        51.    Upon discovery of the above-mentioned jar, students reported the bird

head to school administrators, including Oxford High School Principal, Defendant

Wolf. Administrators of Defendant Oxford CSD concealed this information from

both staff and parents within the Oxford CSD.

        52.    Doe wrote an entry in his journal, confirming that he was the individual

who brought the severed bird head to Oxford High School.10 Cell phone records

further document that Doe had recorded himself decapitating a bird.11

        53.    Oxford High School has access to footage from internal surveillance

cameras positioned throughout its hallways.12

        54.    Had Defendant Oxford CSD conducted a reasonable investigation, it

would have uncovered that Doe was the student responsible for the severed bird’s

head.

        55.    The next day, November 12, 2021, Oxford High School administration

sent an email to parents of Oxford High School students, stating: “Please know that

we have received every concern shared with us and investigated all information




9
  Id. at 75:10-18.
10
   Id. at 223:8-14.
11
   Prelim. Exam. Tr., vol. I, at 264:10-15.
12
   Id. at 223:24-224:1.
                                              18
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provided . . . We want our parents and students to know that there has been no threat

to our building nor our students.”

      56.    On or about November 16, 2021, multiple parents directly informed

Defendant Principal Wolf of concerns about multiple severed animal heads at

Oxford High School and about threats made to students on social media.

      57.    Communications from parents to Defendant Wolf stated, in part: “I

know it’s been investigated but my kid doesn’t feel safe at school . . . He didn’t even

want to go back to school today.”

      58.    In or around mid-November 2021, both students and parents at Oxford

High School recognized the presence of a violent threat, but administrators of

Defendant Oxford CSD dismissed the threat as not credible.

      59.    Both students and parents at Oxford High School shared serious

concerns about the multiple severed animal heads at Oxford High School and about

posts and threats made to students on social media.

      60.    On or about November 16, 2021, due to the above-mentioned concerns

regarding student safety, many students voiced safety concerns to their parents, and,

out of fear of violence and/or the occurrence of a shooting at Oxford High School,

together students and parents made the decision that those students stay home from

school that day.




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      61.    In response to reports from students, parents, and teachers,

administrators of Defendant Oxford CSD persisted in their campaign to conceal and

minimize threats to school safety.

      62.    On November 16, 2021, Defendant Wolf emailed parents, stating: “I

know I’m being redundant here, but there is absolutely no threat at the HS . . . large

assumptions were made from a few social media posts, then the assumptions evolved

into exaggerated rumors.”

      63.    That same day, former-Superintendent Timothy Throne (“Throne”)

made an announcement on the school-wide loudspeaker at Oxford High School,

instructing students to stop spreading rumors and to stop relying on information on

social media, while also reassuring students that there were no threats that posed any

danger to them at Oxford High School.

      64.    At all relevant times, Throne, while acting as the Superintendent of

Defendant Oxford CSD, discouraged students and parents from reporting, sharing,

or otherwise discussing the threatening social media posts.

      65.    At all relevant times, Defendant Wolf, while acting as the Principal of

Oxford High School, directed the teachers and counselors to tell students to stop

reporting, sharing, or otherwise discussing the threatening social media posts and

the violent animal slaughter that was occurring at Oxford High School.




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      66.    Teachers and staff of Oxford High School did tell students to stop

reporting, sharing, or otherwise discussing threatening social media posts and, on at

least one occasion, threats of a school shooting at Oxford High School.

      67.    At all relevant times, the respective actions of Throne and Defendant

Wolf, in advising all students that there was no credible threat, demonstrated conduct

so reckless as to demonstrate a substantial lack of concern for whether an injury

resulted.

      68.    At all relevant times, students at Oxford High School were safer before

Throne and Defendant Wolf respectively took action and advised each and every

student there was no credible threat. By virtue of their respective actions, Throne

and Defendant Wolf each substantially increased the harm to all students at Oxford

High School.

      69.    At all relevant times, Doe’s social media accounts were set to “public,”

allowing any person on the internet to view the contents, which largely depicted

Doe’s obsession with and unrestricted access to firearms.

      70.    Upon information and belief, the content of Doe’s social media

accounts was known to fellow students, parents, and the Defendants prior to the

shooting on November 30, 2021.

      71.    On or around November 26, 2021, Doe received a Sig Sauer 9-

millimeter semi-automatic handgun as a gift from his father.


                                         21
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       72.     That same day, on or around November 26, 2021, Doe posted a picture

of the gun to his public Instagram account with the caption: “[J]ust got my new

beauty today [heart eyes emoji] Sig Sauer 9-millimeter. Any questions I will

answer.”13 This post was readily accessible to any person on the internet, including

all Defendants.

       73.     On November 27, 2021, Jennifer Crumbley posted a photo on her

Facebook page of a target at the shooting range with the caption: “[M]om and son

day testing out his new X-mas present.”14 This social media post referred to Doe

firing his handgun. Doe’s mother’s account was also set to “public,” allowing any

person on the internet to view the contents of her account, including the above-

mentioned post from November 27, 2021.

       74.     On the morning of November 29, 2021, one day before the school

shooting, Doe’s English teacher caught Doe using his cell phone, during school

hours, to access the internet to search for information about ammunition.15

       75.     Upon information and belief, Doe’s conduct was in violation of a

variety of school rules, procedures and policies, including Defendant Oxford CSD’s




13
   Id. at 193:10-18.
14
   Prelim. Ex. Tr., vol. 1, at 208:16-20.
15
   Prelim. Ex. Tr., vol. II, at 109:8-14.
                                            22
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“Technology Policy and Guidelines,” as well as its “Acceptable Use Policy,” which

“[a]ll students sign […] annually.”16

        76.   The “Acceptable Use Policy” is no longer accessible on Defendant

Oxford CSD’s website, even though, upon information and belief, any individual

was able to publicly access the policy prior to the school shooting on November 30,

2021.

        77.   On the morning of November 29, 2021, Doe’s Spanish teacher sent an

email to Defendant Ejak and Pam Parker Fine (“Fine”), the Restorative Practices

Coordinator of Defendant Oxford CSD, informing them both that Doe had been

using his cell phone, during school hours, to access the internet to search for

information about ammunition.17

        78.   Doe’s English teacher’s above-mentioned email was then forwarded to

Defendant Hopkins, Doe’s assigned counselor.18

        79.   Fine called Doe to her office. Fine then called Defendant Hopkins into

her office to “be in the meeting as social/emotional support for [Doe].”19




16
   Oxford Community Schools Student Code of Conduct, Revised June 2021, page 23,
https://cdn5-ss8.sharpschool.com/UserFiles/Servers/Server_733753/Image/2021-
2022%20STUDENT%20CODE%20OF%20CONDUCT.pdf (last visited June 17, 2022).
17
   Id.
18
   Id. at 109:11-14.
19
   Id. at 109:16-19.
                                          23
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       80.     The duration of the meeting, which began at or around 9:00 a.m. on

November 29, 2021, lasted approximately five minutes.20

       81.     At that time, Defendant Hopkins and Fine provided limited support

and/or guidance to Doe, as they informed Doe only that accessing the internet to

search for ammunition on his cell phone during school hours was not “school

appropriate behavior.”21

       82.     In response, Doe explained to Defendant Hopkins and Fine that Doe

had visited a gun range with his mother the previous weekend to shoot guns, that

shooting guns was a hobby within Doe’s family, and that Doe was merely

researching information about his shooting hobby.22

       83.     During the meeting, Doe was compliant, calm, understanding, and

neither argumentative nor oppositional, demonstrating his obedience to authority.23

       84.     At the conclusion of the meeting, Defendant Hopkins and Fine

permitted Doe to return to class.24

       85.     After the meeting, Fine called Doe’s mother and left a voicemail

message for Doe’s mother.25




20
   Id. at 109:22-25.
21
   Id. at 110:1-11.
22
   Id. at 110:19-24.
23
   Id. at 110: 1-15.
24
   Id. at 111:21-23.
25
   Id. at 111:13-16.
                                        24
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       86.     In accordance with Defendant Oxford CSD’s policy, Fine did not

request a return call from Doe’s mother because the situation did not present a

disciplinary issue.26 Doe’s mother did not return Fine’s call.

       87.     Later that day, Doe’s mother sent a text to Doe, saying: “Seriously??

Looking up bullets in school??” Doe responded: “Oh, yeah. I already went to the

office for that.”27 Doe’s mother then asked: “Did you at least show them a pic of

your new gun?” Doe responded: “No.”28

       88.     Later that same evening, on November 29, 2021, Doe posted the

following language to his public Twitter account: “Now I am become Death, the

destroyer of worlds. See you tomorrow Oxford.”

       89.     On the morning of November 30, 2021, the day of the school shooting,

Doe returned to Oxford High School, carrying his gun and 48 rounds of ammunition

in his backpack. Also in his backpack, Doe carried a personal journal, which

contained 21 pages of his plans to carry out the school shooting.29

       90.     In part, the journal stated: “First off, got my gun. It’s an SP2022 Sig

Sauer 9-millimeter. Second, the shooting is tomorrow, I have access to the gun and

ammo.”30 The journal also contained two separate drawings of bullets. One drawing



26
   Id. at 137:12-17.
27
   Prelim. Ex. Tr., vol. I, at 180: 17-25.
28
   Id. at 182: 12-18.
29
   Prelim Ex. Tr., vol. II, at 223:2-224:20.
30
   Id. at 226:3-6.
                                               25
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was labeled “.22,” while the second drawing was labeled “9-millimeter.” Positioned

next to the .22 drawing is the description “kill range, 25M, max”; depicted next to

the 9-millimeter drawing is the description “kill range, 100M.”31 Also largely drawn

within the pages of the journal is what appears to be a cup containing liquid, a

severed bird head, and a demon drawn next to the cup.32

       91.     At approximately 8:30 a.m., a teacher in the English Department of

Oxford High School sent an email to Defendant Hopkins, stating Doe was watching

a video on his cell phone, during class time, that depicted a realistic shooting.33

       92.     Doe’s conduct in watching a video on his cell phone that depicted a

realistic shooting, during school hours, was in violation of a variety of school rules,

procedures, and policies.

       93.     At approximately 8:50 a.m., Defendant Hopkins viewed the English

teacher’s above-mentioned email.34

       94.     At approximately 8:59 a.m., Doe’s math class participated in a test

review. On his math worksheet, Doe drew a picture of a Sig Sauer 9-millimeter

handgun. Underneath the gun, Doe wrote: “The thoughts won’t stop. Help me.” To

the right of those words, Doe drew a person with what appears to be two gunshot




31
   Id. at 226:10-16.
32
   Id. at 226:17-227:1.
33
   Id. at 112:18-25.
34
   Id. at 112:25.
                                          26
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wounds, one placed in the chest and one in the abdomen, with blood coming from

the person’s mouth. On another area of the same worksheet, Doe wrote “blood

everywhere” and drew a shell casing or bullet. On the bottom half of the worksheet,

positioned below the above-mentioned writings and illustrations, Doe drew a

laughing/crying emoji and wrote: “My life is useless” and “The world is dead.” Upon

seeing these writings and illustrations, Doe’s teacher took a picture of the worksheet

and reported Doe’s drawings.35

          95.     Doe’s drawings and statements were clearly violent and disturbing,

were an obvious cry for help, and openly expressed Doe’s thoughts of suicide and/or

homicide.

          96.     Later that morning, Doe altered his writings and illustrations on the

worksheet. After scratching out the drawings of the gun and of the person with two

gunshot wounds, as well as scratching out the words “Help me,” “Blood

everywhere,” “My life is useless,” and “The world is dead,” Doe added new, equally

disturbing phrases to the worksheet. In an attempt to conceal the sinister content of

his illustrations, Doe wrote: “Video game this is,” “Harmless act,” “I love my life so

much!!!!,” “OHS rocks!,” and “Were [sic] all friends here.”




35
     Id. at 113:7-9.
                                             27
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       97.     Defendant Ejak arrived to Defendant Hopkins’ office at approximately

9:00 a.m. to inform Defendant Hopkins he had seen a picture of the writings and

illustrations on Doe’s math worksheet.36

       98.     Thereafter, Defendant Hopkins walked to Doe’s math classroom and

removed Doe for a meeting in the counseling office.37

       99.     Defendant Hopkins took possession of the math worksheet from Doe’s

desk and escorted Doe to the counseling office, in which Defendant Ejak waited.38

       100. At this point, Doe’s backpack remained in the classroom.

       101. Defendant Hopkins testified he was “concern[ed] about the student

[Doe] because it was a couple of messages in a couple days, and the purpose of the

meeting was to find out what our next steps would be.”39

       102. At some point, either before or during the meeting, Defendant Ejak

returned to the math classroom and retrieved Doe’s backpack, which contained

Doe’s handgun and forty-eight (48) rounds of ammunition.40

       103. At no point did Defendants Ejak or Hopkins search Doe’s backpack or

locker to determine whether Doe was armed and dangerous.




36
   Id.
37
   Id. at 113:12-14.
38
   Id. at 113:21-25.
39
   Id. at 115:2-5.
40
   Id. at 150:18-25.
                                           28
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          104. At no point did Defendants Ejak or Hopkins search Doe’s backpack or

locker to determine whether he had immediate access to a deadly weapon he could

use to harm himself or others.

          105. During the meeting, Defendant Hopkins questioned Doe about the

video of a realistic shooting he watched in class on the morning of November 30,

2021. In response, Doe claimed the video he watched was of a video game, not an

actual event.41

          106. Neither Defendants Ejak nor Hopkins attempted to watch the above-

mentioned video to confirm the accuracy of Doe’s representation of said video.42

          107. Defendants Ejak and Hopkins had actual knowledge of a safety threat

and a concern for Doe’s safety and well-being, given the events in the preceding

months and days, which included Doe searching for bullets on his phone, informing

Hopkins and Fine of his shooting hobby, viewing a video of a realistic shooting

during English class, and drawing disturbing words and illustrations on his math

assignment.

          108. During this meeting, Defendant Hopkins asked Doe about the

disturbing words and illustrations he drew on his math assignment. Doe explained




41
     Id at 115:8-16.
42
     Id. at 139:8-15; 142:24-25; 153:8-10.
                                             29
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the drawings depicted a video game he wanted to design. Doe gave no other

explanation.43

       109. Defendant Hopkins knew Doe was not being truthful when Doe

dismissed the words and illustrations as a video game design, as demonstrated by

the fact Defendant Hopkins advised Doe that it “[did] not sound like a video game.”44

       110. Doe made no attempt to deny Defendant Hopkins’s assertion that his

drawings and words did not depict a video game. In that moment, Defendant

Hopkins observed Doe’s demeanor visibly change, and, as described by Defendant

Hopkins, Doe “became sad . . . He started pausing more in his speech. He then

described some [upsetting] things that had happened recently in his life,” including

the death of a family dog, the death of a grandparent, the effect that COVID and

virtual learning had on Doe, and the loss of a close friend who had to leave school.45

       111. At this point, Defendant Hopkins determined Doe was having suicidal

ideations.46

       112. Defendant Hopkins proceeded to conduct a risk assessment, asking Doe

if he was a threat to himself or others.47




43
   Id. at 116:11-15.
44
   Id. at 116:15-20.
45
   Id. at 116:22-117:10; 125:7-11.
46
   Id. at 117:14-16.
47
   Id. at 118:21-25.
                                             30
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       113. Doe simply stated, “I can see why this looks bad. I’m not going to do

anything.”48

       114. Rather than fully accept Doe’s response, Defendant Hopkins

appropriately concluded Doe was suicidal and “was a threat to himself in spite of his

statement.”49

       115. However, Defendant Hopkins failed to “ask any further questions about

a plan.”50

       116. In the year leading up to Defendant Hopkins’s conversation with Doe,

three (3) other students at Oxford High school who were assigned to Defendant

Hopkins had made suicide attempts.51

       117.     Defendant Hopkins then called Doe’s mother, but Doe’s mother did

not answer the call. Defendant Hopkins left a voicemail message for Doe’s mother.52

       118. Defendant Hopkins next called Doe’s father, but it “was empty air when

[he] called.” Defendant Hopkins was not given the option to leave a voicemail

message.53

       119. Doe’s mother then returned Defendant Hopkins’s call.54



48
   Id. at 125:1-3.
49
   Id. at 148:2-3.
50
   Id. at 125:16.
51
   Id. at 119:5-10.
52
   Id. at 120:15-18; 121:7-8.
53
   Id. at 121:10-12.
54
   Id. at 121:9-14.
                                         31
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       120. When he answered the call, Defendant Hopkins placed the call on

speaker so that Doe, Defendant Ejak, and Defendant Hopkins could all listen to

and/or speak with Doe’s mother.55

       121. During the call with Doe’s mother, Defendant Hopkins expressed he

“was concerned about [Doe].”56

       122. Defendant Hopkins then requested that Doe’s mother come to Oxford

High School for an in-person meeting.57

       123. Doe’s mother expressed she was at work and would try to get in contact

with Doe’s father.58

       124. Doe’s mother later called back, stating she would arrive at Oxford High

School in a half hour. 59

       125. While awaiting the arrival of Doe’s parents, Defendant Hopkins

remained in the counseling office with Doe because Defendant Hopkins knew Doe

was suicidal and “did not want to leave him alone.”60

       126. At approximately 10:30 a.m., Doe’s mother and father both arrived at

the Oxford High School.61



55
   Id. at 121:15-18.
56
   Id. at 122:23-24.
57
   Id. at 123: 9-10.
58
   Id. at 123:11-13.
59
   Id. at 123:20-24.
60
   Id. at 124:14-15.
61
   Id. at 124:7-13.
                                          32
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       127. When Doe’s parents arrived, Defendant Hopkins texted Defendant Ejak

to return to Defendant Hopkins’s office for a meeting.62

       128. Upon their arrival, Doe’s parents did not greet, touch, or hug Doe, and

they did not seem friendly or show care and/or concern for their child, Doe. This

conduct struck Defendant Hopkins as abnormal, as it was different from that of other

like meetings that he had conducted with a student and his or her parents.63

       129. During the meeting with Doe and his parents, Defendant Hopkins

expressed his concerns for Doe’s well-being, including Defendant Hopkins’s

conclusion that Doe was suicidal.64

       130. Neither Defendant Hopkins nor Defendant Ejak questioned Doe’s

parents about Doe’s access to a gun, despite the fact Doe had searched for bullets on

his phone, had discussed his shooting hobby with Defendants, had viewed a video

of a realistic shooting during English class, had depicted a gun and a wounded person

on his math worksheet, and had suicidal presentation.

       131. Defendant Hopkins provided Doe’s family with a list of resources for

mental health support and emphasized the need for Doe to start counseling

immediately, “today if possible.”65




62
   Id. at 126: 4-5.
63
   Id. at 126:11-22.
64
   Id. at 127:13-17.
65
   Id. at 128:3-10.
                                         33
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       132. In specifying Doe should receive prompt assistance, “today if

possible,” Defendant Hopkins signified he knew of Doe’s immediate threat to

himself and to others.

       133. In response to Defendant Hopkins’s instructions, Doe’s mother stated

that “[t]oday is not possible. We have to return to work.” 66

       134. Defendant Hopkins testified he was “taken aback” because he had

never previously experienced a student’s parent(s) arrive to the school, appear at

such a meeting, and deny the counselor’s advice to take the student home as

requested.67

       135. Defendant Hopkins then stated to Doe’s parents that, within forty-eight

(48) hours, he wanted Doe to be seen for mental health counseling, explaining that

Defendant Hopkins would follow up to ensure Doe’s parents had followed his

instructions and had obtained counseling for Doe.68

       136. Defendant Hopkins warned Doe’s parents that, should they fail to

obtain counseling for Doe, Defendant Hopkins would report Doe’s parents to Child

Protective Services (“CPS”).69



66
   Id. at 128:17-18.
67
   Id. at 129:21-130:6.
68
   Id. at 130:4-7.
69
   Letter from Superintendent Throne to Oxford Wildcat Nation dated December 4, 2021, page 2,
https://www.oxfordschools.org/for_parents___students/2021-
22_district_communications/december_4__update_from_supt__throne (last accessed June 17,
2022).
                                             34
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          137. In making this demand, Defendants Hopkins and Ejak evidenced their

awareness that, at a minimum, Doe was a threat to himself and others and that any

failure to urgently address Doe’s mental health condition was criminal abuse and/or

neglect.

          138. Defendant Hopkins testified his “primary concern” was that he did not

want Doe to be alone, but he did not feel confident Doe’s parents would obtain

counseling for Doe, as Defendant Hopkins had instructed them to do.70

          139. Defendants Ejak and Hopkins knew that the refusal of Doe’s parents to

address this emergent medical need was evidence of child abuse and/or neglect and

was of the kind that needed to be reported immediately under Michigan’s Child

Protection Act, MCL § 722.623, et seq.

          140. Based on the facts and circumstances known to them at the time, as

outlined above, Defendants Ejak and Hopkins knew Doe was suicidal.

          141. Further, Defendants Ejak and Hopkins knew or should have known that

Doe had expressed homicidal ideation and that he presented a substantial risk of

deadly harm to others.

          142. According to Defendant Hopkins, the meeting ended abruptly with

Doe’s mother asking, “are we done?”71



70
     Prelim Ex. Tr., vol. II, at 130:11-18.
71
     Id. at 132:1-3.
                                              35
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         143. In response, Defendant Hopkins looked to and asked Defendant Ejak

“if there was any disciplinary reason why [the] student could not return to class.”72

         144. Ejak responded “no.”73

         145. However, Doe's conduct—in using his cell phone during school hours

to access the internet to look up information about ammunition on November 29,

2021, and in using his cell phone again during school hours to watch a video of a

realistic shooting on November 30, 2021—was in violation of a variety of school

rules, procedures, and policies.

         146. Defendant Hopkins then responded to Doe’s mother, stating, “I guess

so.”74

         147. In his testimony, Defendant Hopkins affirmed he “could have stated

that” Doe “has to leave.”75

         148. Defendant Hopkins testified Doe was “showing signs of needing help,

of needing support,” but that Doe “got the opposite” from him parents.76

         149. The meeting between Defendant Ejak, Defendant Hopkins, Doe’s

parents, and Doe lasted “[l]ess than 15 minutes.”77




72
   Id. at 132:5-7.
73
   Id. at 132:8-9.
74
   Id. at 132:13-14.
75
   Id. at 148:18-21.
76
   Id. at 132:24-133:2.
77
   Id. at 131:4-5.
                                         36
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          150. Despite having spoken with Doe the day prior and having learned of

Doe’s access to firearms and Doe’s shooting hobby, and after also having gained

knowledge of Doe’s suicidal and homicidal ideations, Defendants Ejak and Hopkins,

upon deliberation on the next course of action, determined Doe could return to class,

which Doe did do, and wrote a “pass back to class” for Doe.78

          151. In doing so, Defendants Ejak and Hopkins returned Doe’s backpack to

Doe without searching its contents.79

          152. At the time they returned Doe’s backpack, Defendants Ejak and

Hopkins had just cause to either inspect the contents of the backpack or, if they felt

such just cause did not exist, to withhold the backpack from Doe until proper

authority could be provided for them to inspect the backpack themselves or to have

law enforcement inspect the backpack.

          153. Defendants Ejak and Hopkins made the deliberate decision to return

Doe to the classroom with possession of Doe’s unsearched backpack, despite having

knowledge that the meeting with Doe’s parents worsened Doe’s emotional and

psychiatric condition, that Doe was obsessed with firearms and gun violence, that

Doe had recently searched for bullets the day prior, that Doe had watched videos

depicting realistic shootings earlier that same morning, and that Doe’s writings and



78
     Id. at 132:17-18.
79
     Id. at 151:20-25; 153:5-7.
                                         37
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illustrations earlier that same morning had depicted graphic gun violence and death.

The deliberate decisions of Defendants Ejak and Hopkins shocks the conscience and

demonstrates deliberate indifference to the safety of students at Oxford High School.

          154. Because Defendant Hopkins “wanted to make sure [Doe] was never

alone,” he “checked to make sure that [Doe] was being marked present for his

classes.”80

          155. Defendants Ejak and Hopkins knew that threatening to call Child

Protective Services within forty-eight (48) hours, and that threatening to remove Doe

from his parents’ home, without taking any real action, would create the danger

and/or increase the likelihood that, if Doe had violence in mind, Doe would act

before losing the opportunity to do so.

          156. Defendants Ejak and Hopkins knew that, because Doe was suicidal and

because the facts established probable cause to know Doe posed a threat to himself

and others, Doe should be supervised in a safe setting and should not be left alone.

          157. Defendants Ejak and Hopkins, as school administrators, had the

authority to maintain Doe in a safe, secure, restricted environment in the counseling

office based on the disciplinary reason that Doe's conduct—in using his cell phone

during school hours to access the internet to look up information about ammunition

on November 29, 2021, and in using his cell phone during school hours to watch a


80
     Id. at 134:2-12.
                                          38
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video of a realistic shooting on November 30, 2021—was in violation of a variety

of school rules, procedures, and policies.

      158. Defendants Ejak and Hopkins, as school administrators, had the

authority to maintain Doe in a safe, secure, and restricted environment in the

counseling office, in which space, and based on the assessment that he was suicidal,

adults could have supervised Doe, and Doe would not have had access to weapons

that he could use to harm himself or others.

      159. Instead, Defendants Ejak and Hopkins used their authority and

affirmatively acted to return Doe to class with his backpack, despite having

knowledge Doe was suicidal and that Doe posed a substantial threat to himself and

others.

      160. Defendants Ejak and Hopkins misused their authority by sending Doe

back through the school to his third period class, alone, and by allowing Doe to

return to class with his unsearched backpack, which contained Doe’s handgun and

forty-eight (48) rounds of ammunition.

      161. Defendants Ejak and Hopkins deliberately conducted the meeting with

Doe and his parents to the exclusion of the police school liaison officer, thereby

preventing the police school liaison officer from being present at the meeting and

from taking action to prevent the mayhem that followed.




                                         39
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        162. Because Defendant Hopkins knew Doe was suicidal, Defendant

Hopkins used the school’s attendance reporting system to remotely track Doe

through the day and to see if Doe had been checked in as “present” for his third and

fourth period classes.81

        163. Defendants Ejak and Hopkins, despite knowing Doe was suicidal and

was a threat to himself, despite his statement to the contrary,82 concealed those facts

from Doe’s teachers, as well as from the school’s police liaison officer, and further

concealed from Doe’s teachers and the school’s police liaison officer both the fact

Doe should not be left alone and the threat Doe posed to himself and others.83

        164. Less than two hours after Defendants Ejak and Hopkins released Doe

from the safe, secure, restricted environment in the counseling office, Doe carried

his backpack into a bathroom and loaded his handgun.

        165. Doe first shot a student inside the bathroom before emerging into the

hallway of Oxford High School, at which time he began to fire his handgun and

shoot at students.

        166. Doe would ultimately kill four students and seriously injure seven

others.




81
   Prelim Ex. Tr., vol. II, at 134:2-12.
82
   Id. at 148:2-6.
83
   Id. at 158:19-22.
                                           40
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      167. All Plaintiffs were present at Oxford High School on the day of

November 30, 2021, and at the time of the shooting.

      168. All Plaintiffs survived the horrific shooting, by way of hiding in the

classrooms and bathrooms, running through the hallways, and/or fleeing the

premises of Oxford High School.

      169. At approximately 12:52 p.m., the authorities were notified of an active

shooter at Oxford High School.

      170. Upon information and belief, law enforcement halted Doe’s shooting

rampage when they apprehended Doe.

      171. Many students, including several Plaintiffs, were classmates and close

friends with the victims of the school shooting on November 30, 2021.

      172. Many students, including several Plaintiffs, who were present in the

hallway in which the tragic massacre took place, witnessed friends and classmates

as they were shot, injured, and/or killed.

      173. Law enforcement escorted many students, including several Plaintiffs,

who were hiding in classrooms and bathrooms as the tragic massacre took place, out

of the building and advised students to stare at the wall as they walked by the bodies

of the victims of the fatal school shooting.

      174. All Plaintiffs incurred and continue to live with severe emotional

damage and psychological harm that resulted in physical manifestations, such as


                                             41
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fright, shock, and terror; conscious pain and suffering; emotional distress; mental

anguish; Post-Traumatic Stress Disorder; depression and anxiety; disruption of their

lives; and humiliation and/or mortification.

      175. On December 1, 2021, Doe was arraigned and charged as an adult with

one count of terrorism causing death, four counts of first-degree murder, seven

counts of assault with intent to murder, and twelve counts of possession of a firearm

in the commission of a felony.

      176. The environment before Defendants Ejak and Hopkins affirmatively

acted to release Doe to the classroom was a status quo of safety, as Doe was safely

and securely restricted to the counseling office, was under the direct supervision of

school administrators, and did not have access to weapons.

      177. Defendants Ejak and Hopkins had the official authority to act as

“gatekeepers” in deciding whether to release Doe from the safe, secure, and

restricted environment in the counseling office and to return Doe to the classroom

with his backpack.

      178. Defendants Ejak and Hopkins used their authority to return Doe to the

classroom, causing a departure from the status quo of safety, thus creating and

increasing a risk of violence that did not exist prior to the affirmative acts of

Defendants Ejak and Hopkins.




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      179. The affirmative acts of Defendants Ejak and Hopkins, which departed

from the status quo of safety, rendered the occupants of Oxford High School,

including all Plaintiffs, more vulnerable to danger than they would have been had

Defendants Ejak and Hopkins not affirmatively acted to return Doe to the classroom

from the safe, secure, and restricted environment in the counseling office.

      180. Moreover, the meetings, which Defendants Ejak and Hopkins

conducted on the morning of November 30, 2021, worsened the situation and

affirmatively increased and accelerated the danger of harm to the occupants of

Oxford High School, including all Plaintiffs.

      181. The meetings, which Defendants Ejak and Hopkins conducted on the

morning of November 30, 2021, worsened the situation and were a contributing

cause-in-fact of the shooting because the meetings placed direct pressure on Doe,

who was experiencing a mental health crisis and whom Defendants Ejak and

Hopkins knew to be in a state of suicidal and homicidal ideation.

      182. Furthermore, the meetings, which Defendants Ejak and Hopkins

conducted on the morning of November 30, 2021, directly subjected Doe to the

shame, fear, humiliation, and/or embarrassment by way of Doe’s parents choosing

to ignore, ridicule, and/or embarrass Doe in the presence of Defendants Ejak and

Hopkins, thus increasing the risk of Doe acting with violence upon his release from




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the safe, secure, and restricted environment in the counseling office to the greater

school environment.

      183. The decision of Defendants Ejak and Hopkins to conduct the meetings

with Doe’s parents, while in Doe’s presence, was inappropriate and certain to

exacerbate Doe’s feelings of distress and anger.

      184. The actions of Defendants Ejak and Hopkins in threatening to call CPS

on Doe’s parents, while in Doe’s presence, and thereby threatening the removal of

Doe from his home, exacerbated Doe’s distress and mistreatment at the hands of

Doe’s parents, which thereby created and increased the danger that Doe would act

on his violent ideations upon the affirmative acts of Defendants Ejak and Hopkins

to release Doe from the safe, secure, and restricted environment in the counseling

office to the greater school environment.

      185. The affirmative acts of Defendants Ejak and Hopkins to return Doe’s

unsearched backpack, which contained Doe’s handgun and forty-eight (48) rounds

of ammunition, to Doe and to release Doe into the greater school environment placed

the occupants of Oxford High School, including all Plaintiffs, directly in harm’s way

and provided Doe with the weapon and ammunition he used to commit the deadly

shooting.

      186. By giving Doe the unsearched backpack, which contained Doe’s

handgun and forty-eight (48) rounds of ammunition, and by releasing Doe from the


                                            44
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safe, secure, and restricted environment in the counseling office to the greater school

environment, Defendants Ejak and Hopkins affirmatively set into motion the

shooting that ensued, acting with deliberate indifference to the substantial and

obvious threat of a school shooting and with recklessness demonstrating deliberate

indifference and a substantial lack of concern for whether an injury resulted, either

to Doe or to the occupants of Oxford High School.

      187. Defendants Ejak and Hopkins affirmatively acted to conceal

information by not informing either Doe’s teachers or the police school liaison

officer of the situation, including the fact Doe was suicidal, which thereby created

and increased the danger that Doe would act on his violent ideations.

      188. The fact Defendants Ejak and Hopkins took the above-mentioned

affirmative actions, despite their knowledge that Doe was suicidal and was

expressing specific violent ideations about gun violence, is shocking to the

conscience.

      189. Based on the knowledge the Oxford Defendants possessed, prior to the

occurrence of the violent shootings on November 30, 2021, the fact Doe would carry

out acts of violence against all occupants of Oxford High School, including all

Plaintiffs, was foreseeable to the Oxford Defendants.




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      190. The affirmative actions of Defendants were reckless, grossly negligent,

shocked the conscience, and placed all occupants of Oxford High School, including

all Plaintiffs, at substantial risk of serious and immediate harm.

      191. Defendants knew that their actions would endanger the lives of Oxford

High School students, including those of all Plaintiffs, and the lives of other

occupants of Oxford High School on November 30, 2021.

   C. Defendant Oxford CSD, in accordance with its illegal policies, practices,
      and customs, engaged in a concerted cover story to deflect responsibility
      for the Oxford High School Shooting.

      192. Since the day of this tragic shooting, Defendant Oxford CSD and its

administrators have tirelessly manufactured a cover story to justify the decision to

release Doe from the counseling office—where he was safely and securely restricted,

where his movement and actions were restricted, where he was under the direct

supervision of school administrators, and where he did not have access to weapons—

and to allow Doe to return to class, despite having knowledge Doe was experiencing

a mental health crisis, was obsessed with guns and gun violence, had access to

firearms, and was determined to be a threat to himself and others.

      193. Defendant Oxford CSD has specifically sought to avoid accountability

by claiming it has a formal policy and practice of returning students to class unless

there exists a “disciplinary” issue.




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      194. Under this policy, Defendant Oxford CSD claims that only when a

“disciplinary” issue presents itself can the administrators send a student home or

hold a student in the counseling office.

      195. In the present case, Defendant Oxford CSD alleges that because Doe

did not present a “disciplinary” issue Defendant Oxford CSD had no choice but to

return Doe to class.

      196. This policy, in addition to Defendant Oxford CSD’s continuous use of

false justifications, demonstrates egregious deliberate indifference to the danger

presented to a school when administrators return a student whom school

administrators knew to be suicidal and who presented a clear threat, such as Doe, to

the greater school environment.

      197. Furthermore, upon information and belief, even if the school policy

sounded in appropriate justifications, Doe’s conduct did present a “disciplinary”

issue when he used his cell phone during school hours to access the internet to look

up information about ammunition on November 29, 2021, and when he used his cell

phone during school hours to watch a video of a realistic shooting on the same day

as the meetings, November 30, 2021, in violation of a variety of school rules,

procedures, and policies

      198. Defendant Oxford CSD has consistently maintained its development of

this false narrative in an effort to avoid accountability. On December 2, 2021, former


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Superintendent Throne issued a video message to the Oxford Community,

suggesting that, while the “front office” did have contact with Doe before the attack,

Defendant Oxford CSD and its administrators could not detain Doe because, and in

accordance with school policy, discipline was not warranted. Specifically, Throne

stated, “I want you to know there’s been a lot of talk about the student who was

apprehended. That he was called up to office and all that kind of stuff. No discipline

was warranted. There are no discipline records [for Doe] at the High School. Yes,

this student did have contact with our front office. And yes, his parents were on

campus on November 30th.”84

      199. Throne’s above statement was deliberately misleading because of what

it fails to communicate. Throne knew that, on the morning of the shooting, school

staff and administrators deemed Doe to be suicidal; Throne knew that, upon gaining

knowledge of Doe’s suicidal ideations, school staff and administrators affirmatively

acted to release Doe from the counseling office where he was safely and securely

restricted, where his movement and actions were restricted, where he was under the

direct supervision of school administrators, and where he did not have access to

weapons; and Throne knew that staff and administrators of Defendant Oxford CSD



84
  Tim Throne, Superintendent of Oxford Community Schools, December 2, 2021 Message to
Oxford Community, ABC12 (December 2, 2021), https://www.abc12.com/tim-throne-
superintendent-of-oxford-community-schools-december-2-2021-message-to-oxford-
community/video_8b3c9912-5436-11ec-a344-5f875adc8e6e.html (last visited May 27, 2022).

                                         48
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affirmatively acted to return Doe to class, despite having knowledge Doe was

experiencing a mental health crisis, was obsessed with guns and gun violence, had

access to firearms, and was determined by staff and administrators of Defendant

Oxford CSD to be a threat to himself and others.

       200. On or about December 4, 2021, Throne wrote a letter to the parents of

students at Oxford High School. At this point, Defendant Oxford CSD’s misleading

narrative became completely contrived. In describing the unfolding of events that

occurred on the morning of November 30, 2021, while Doe was present in Defendant

Hopkin’s office, Throne stated that at “no time did the counselors believe the student

might harm others based on his behavior, responses and demeanor, which appeared

calm.” At the time he made this statement, Throne knew it was false. Even so,

Throne continued in his letter, stating, “[w]hile both of his parents were present,

counselors asked specific probing questions regarding the potential for self-harm or

harm to others. His answers, which were affirmed by his parents during the

interview, led counselors to again conclude he did not intend on committing either

self-harm or harm to others. The student’s parents never advised the school district

that he had direct access to a firearm or that they had recently purchased a firearm

for him.”85



85
   Letter from Superintendent Throne to Oxford Wildcat Nation dated December 4, 2021, page 2,
https://www.oxfordschools.org/for_parents___students/2021-
                                             49
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      201. Again, the above assertion was false. In stark contrast to the contents of

Throne’s letter, Defendant Hopkins determined Doe was suicidal on November 30,

2021, and was fully aware Doe was experiencing a mental health crisis, was obsessed

with guns and gun violence, had access to firearms, and was a threat to himself and

others. Throne’s above statement was deliberately misleading because, when Throne

made these assertions, he knew they were false.

      202. On page one of Throne’s letter from December 4, 2021, Throne claims

he “asked for a third-party investigation be [sic] conducted so we leave no stone

unturned, including any and all interaction the student had with staff and students.”

Towards the end of his letter, Throne reiterated the above statement, claiming,

“[a]gain I have personally asked for a third-party review of all the events of the past

week because our community and our families deserve a full, transparent accounting

of what occurred.”86

      203. On December 4, 2021, Attorney General Dana Nessel sent an email to

then-Superintendent Throne, offering to perform a complimentary review and an

independent investigation of the events leading up to the tragic shooting on




22_district_communications/december_4__update_from_supt__throne (last accessed June 17,
2022).
86
   Id.
                                           50
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November 30, 2021, and stating her department was the “perfect agency” to conduct

the investigation.87

       204. Attorney General Nessel explained she “didn’t want to see the school

district bring in a private law firm … where they are the client,” elaborating that such

reviews are “not fully independent investigations.”88

       205. The next day, on December 6, 2021, Defendant Oxford CSD announced

it was not going to accept Attorney General Nessel’s offer for a complimentary

independent investigation.

       206. In or around January 2022, the National Center for School Safety

(“NCSS”), located in Ann Arbor, Michigan, offered to assist Oxford High School.

NCSS is a national program “focused on improving school safety and preventing

school violence.”89

       207. Despite parents and students at Oxford High School having plead with

administrators and members of the school board to accept offers from programs that

focus on threat assessments, Defendant Oxford CSD failed to respond to NCSS’s

complimentary offer.




87
   Nessel offers to conduct AG investigation into Oxford school shooting, The Detroit News,
https://www.detroitnews.com/story/news/local/oakland-county/2021/12/05/oxford-high-school-
shooting-nessel-ag-review/8878611002/ (last visited June 17, 2022).
88
   Id.
89
   National Center for School Safety, https://www.nc2s.org (last visited June 17, 2022).
                                             51
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        208. On January 24, 2022, Oxford High School reopened for in-person

learning. In preparation for the return of its students, Defendant Oxford CSD

replaced the carpet, added a fresh layer of paint, and blocked off the boys’ bathroom

in which the school shooting began on November 30, 2021.

        209. On January 24, 2022, students at Oxford High School, including

Plaintiffs, returned to the same building, passed under the same doors, and walked

through the same hallway in which the tragic shooting took place on November 30,

2021.

        210. To date, each time students at Oxford High School attend class, they

return to the same building, pass under the same doors, and walk through the same

hallway in which the tragic shooting took place on November 30, 2021.

        211. On April 19, 2022, Attorney General Dana Nessel sent a letter to the

Oxford Board of Education, renewing her “offer to perform an independent

investigation of the events that transpired on November 30th,” the costs of which

would be “borne solely by [her] office.” Attorney General Nessel requested a

response to be communicated by May 20, 2022.90




90
  Letter from Attorney General Dana Nessel to Oxford Board of Education dated April 10,
2022, page 1, https://www.michigan.gov/ag/-
/media/Project/Websites/AG/releases/2022/April/LtrOxfordBdEd41922_751181_7.pdf?rev=462
9422cbadc49858106eed32f24c9ca&hash=15936B35B43CCB9215F09543B6383AEF (last
accessed June 17, 2022).
                                          52
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       212. On or around May 10, 2022, Defendant Oxford CSD rejected Attorney

General Nessel’s offer for a complimentary independent investigation, claiming a

third-party review “of the tragedy and associated events of November 2021 [would]

not occur until the criminal and civil litigations are complete,” explaining “it would

be ill-advised for [the Oxford school board] to start a third-party review about what

happened that day when [they] don’t know all the facts.”91

       213. During the Oxford school board meeting on May 10, 2022, students and

parents voiced their frustrations with Defendant Oxford CSD’s decision to refuse

Attorney General Nessel’s above-mentioned offers and with its lack of

transparency.92

       214. On May 17, 2022, after denying two complimentary offers and hearing

the concerns of its students and parents, Defendant Oxford CSD “agreed upon

outside firms for a third-party review of the events surrounding the Oxford High

School shooting in November.” The Oxford school board “unanimously voted to

hire Varnum, a Grand Rapids-based law firm, and Guidepost Solutions to conduct

the review.”93




91
   Oxford school board rejects AG’s 2nd offer to investigate deadly shooting, WXYZ-TV Detroit,
https:// www.youtube.com/watch?v=yqNWF91qO5s (last accessed June 17, 2022).
92
   Id.
93
   Oxford Community Schools hires outside firms for third-party review of shooting, Michigan
Radio (May 18, 2022), https://www.michiganradio.org/education/2022-05-18/oxford-community-
schools-hires-outside-firms-for-third-party-review-of-shooting (last visited June 17, 2022).
                                             53
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       215. Students and parents at Oxford High School join Attorney General

Nessel in her concerns that Defendant Oxford CSD’s decision to hire outside firms,

only after refusing multiple complimentary offers of independent third-party

reviews, will allow them to “maintain attorney-client privilege with elected

members” and will, therefore, have “the ability to stop short of full transparency.”94

       216. On June 13, 2022, Attorney General Nessel sent a letter to Defendant

Oxford CSD, requesting that it “reconsider its rejections of her offer to review the

events leading up to the” school shooting on November 30, 2021.95 In her letter,

Attorney General Nessel further offered Defendant Oxford CSD “the use of a dog

trained to detect explosives and firearms along with a handler at the high school next

school year.”96

       217. On or around June 15, 2022, Defendant Oxford CSD “reportedly

rejected Nessel’s third offer to revive the events leading up” to the school shooting.97

Unsurprisingly, Defendant Oxford CSD also “turned down [Attorney General




94
   Id.
95
   Nessel offers Oxford schools weapon-detecting dog, renews effort to review mass shooting,
The Detroit News (June 13, 2022), https://www.detroitnews.com/story/news/local/oakland-
county/2022/06/13/nessel-offers-oxford-schools-weapon-detecting-dog-review-
shooting/7614773001/ (last visited June 17, 2022).
96
   Id.
97
   Michigan AG Nessel: Oxford School Board Rejects Offer To Provide Weapon Detection Dog,
CBS Detroit (June 15, 2022), https://www.detroit.cbslocal.com/2022/06/15/michigan-ag-nessel-
oxford-school-board-rejects-offer-to-provide-weapon-detection-dog/ (last visited June 16, 2022).
                                               54
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Nessel’s] offer of a free school safety dog, trained and handled by some of the best

professionals in the business.”98

           218. To date, Defendant Oxford CSD has not fulfilled its pledge of full

transparency to the students and parents at Oxford High School and to the greater

Oxford Community.

COUNT I: PROSPECTIVE EQUITABLE AND INJUNCTIVE RELIEF FOR
  VIOLATION OF CIVIL RIGHTS UNDER 14TH AMENDMENT DUE
              PROCESS AND 42 U.S.C. § 1983, § 1988
   ALL PLAINTIFFS AGAINST DEFENDANTS OXFORD CSD AND
                        WEAVER

           219. Plaintiffs reallege and incorporate by reference the allegations

contained in the previous paragraphs.

           220. As citizens and/or legal residents of the United States, Plaintiffs were

entitled to all rights, privileges, and immunities accorded to all citizens and/or legal

residents of the State of Michigan and of the United States.

           221. The Fourteenth Amendment of the United States Constitution, as

enforced under 42 U.S.C. § 1983, forbids state actors from depriving any person of

life, liberty, or property without due process of law.

           222. Based on the provisions of Michigan law regarding public education,

the students of Defendant Oxford CSD, including all Plaintiffs, have a




98
     Id.
                                             55
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constitutionally protected right to a public education, which is protected as a

property interest under the Due Process Clause of the Fourteenth Amendment.

      223. Defendants Oxford CSD and Superintendent Weaver must exercise

their authority in the operations of the Oxford Community School District to be

consistent with constitutional safeguards.

      224. As alleged in this Complaint, Defendants took affirmative state actions

that, in accordance with official policy of Defendant Oxford CSD, created the danger

of deadly violence at Oxford High School and that caused the shooting at Oxford

High School on November 30, 2021, to occur.

      225. All Plaintiffs were students at Oxford High School and were attending

and going about their usual days as students at Oxford High School when the

shooting began on November 30, 2021.

      226. Oxford High School remained closed, and its surviving students,

including all Plaintiffs, were completely deprived of their constitutional right to a

public education from November 30, 2021, until January 24, 2022.

      227. Since the reopening of Oxford High School, on January 24, 2022,

Defendant Oxford CSD, as well as Throne, the former Superintendent, and

Defendant Weaver, the current Superintendent, have failed to remedy the

unconstitutional policies and customs that caused the shooting to occur, therefore,




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depriving the students at Oxford High School, including all Plaintiffs, of the full and

equal enjoyment of their property right to a public education.

      228. To date, Defendant Oxford CSD has failed to take any measures to

restore the property right of the students at Oxford High School, including all

Plaintiffs, to the full and equal enjoyment of a public education at Oxford High

School.

      229. Defendant Oxford CSD’s failure to fully restore the property right of

students at Oxford High School, including all Plaintiffs, to a public education include

but are not limited to the following:

             a. After the shooting, through then-Superintendent Throne, Defendant
                Oxford CSD promised it would complete a thorough and
                independent investigation to review its actions and the events
                leading to the shooting. Since then, Defendant Oxford CSD has
                denied Attorney General Nessel’s offers of a complimentary
                transparent third-party review; has ignored offers from other
                organizations, such as NCSS, to provide assistance for the return to
                school and for the implementation of safety policies and/or
                procedures; and, while it has hired a private firm, Defendant Oxford
                CSD has failed to conduct a transparent third-party investigation, as
                promised;

             b. Defendant Oxford CSD maintains its unconstitutional policy of
                prohibiting administrators from holding students out of the
                classroom, even where they are suicidal and where there is probable
                cause to know that they pose a risk of harm to themselves and others,
                so long as the circumstances do not present a “disciplinary” issue.
                So long as this policy is maintained, Defendant Oxford CSD will
                continue to place suicidal students in the classroom even where they
                pose a threat to themselves and others, as happened when Doe was
                released from the counseling office to the classroom on November
                30, 2021;
                                          57
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             c. Defendant Oxford CSD maintains a policy of failing to train
                administrators that they can restrict suicidal students from returning
                to the classroom;

             d. Defendant Oxford CSD maintains a policy of failing to train
                administrators on how to complete a thorough and effective risk
                assessment for suicidal students;

             e. Defendant Oxford CSD maintains a policy of permitting its staff and
                administrators to refrain from immediately reporting or filing
                mandatory reports of known or suspected acts of child abuse or
                neglect in contravention and violation of MCL § 722.623(a);

             f. Since the shooting, Defendant Oxford CSD has engaged in a
                concerted cover story of its actions leading to the shooting. This
                includes, and is not limited to, asserting in court proceedings and in
                that media that it properly returned Doe to the classroom on
                November 30, 2021, despite knowing he was suicidal, because his
                case did not present a “disciplinary issue” that would warrant
                keeping him in the counseling office that day; and

             g. Since the shooting, Defendant Oxford CSD has engaged in a
                concerted cover story of the percentage of and frequency at which
                students at Oxford High School attend school since the return of in-
                person classes on January 24, 2022, as many students, including all
                Plaintiffs, continue to live with the fear of another school shooting.

      230. Due to the failure of Defendants Oxford CSD and Weaver to restore the

full property interest of students to a public education, Plaintiffs have suffered and

will continue in the future to suffer irreparable harm, including but not limited to:

(a) fright, shock, and terror; (b) loss of trust; (c) conscious pain and suffering; (d)

emotional distress; (e) mental anguish; (f) Post-Traumatic Stress Disorder; (g)




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depression and anxiety; (h) disruption of their lives; and (i) humiliation and/or

mortification.

      231. To redress and remedy these unconstitutional practices, Plaintiffs

request the following prospective and injunctive relief:

             a. An order requiring Defendant Oxford CSD and/or Defendant
                Superintendent Weaver to immediately conduct an independent and
                fully transparent third-party investigation of the events that
                transpired prior to the school shooting on November 30, 2021;

             b. An order requiring Defendant Oxford CSD and/or Defendant
                Superintendent Weaver to immediately cease its policy, practice,
                and/or custom of concealment, misrepresentation, minimization or
                avoidance, and non-escalation to higher authorities, including law
                enforcement, of suspected or known risks of school violence;

             c. An order requiring Defendant Oxford CSD and/or Defendant
                Superintendent Weaver to immediately reform its policy of
                prohibiting administrators from holding students out of the
                classroom, even where they are suicidal and where there is probable
                cause to know that they pose a risk of harm to themselves and others,
                so long as the circumstances do not present a “disciplinary” issue.
                So long as this policy is maintained, Defendant Oxford CSD will
                continue to place suicidal students in the classroom even where they
                pose a threat to themselves and others, as happened when Doe was
                released from the counseling office to the classroom on November
                30, 2021;

             d. An order requiring Defendant Oxford CSD and/or Defendant
                Superintendent Weaver to immediately reform its policy, practice,
                and/or custom of offering information that falls short of full
                transparency to parents and students, especially when such
                information concerns potential threats of safety and violence to the
                students and occupants at Oxford High School;

             e. An order requiring Defendant Oxford CSD and/or Defendant
                Superintendent Weaver to immediately reform its policy, practice,
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               and/or custom of permitting its staff and administrators to refrain
               from immediately reporting or filing mandatory reports of known or
               suspected acts of child abuse or neglect in contravention and
               violation of MCL § 722.623(a);

            f. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately secure proper training for
               administrators and staff by way of contacting an organization, such
               as NCSS, to provide assistance for the return to school and for the
               implementation of safety policies and/or procedures before the start
               of the coming 2022-2023 school year at Oxford High School;

            g. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately secure proper training for
               administrators to understand that they can hold and/or restrict
               students in the counseling office, and not return them to class, if they
               are suicidal or if there is probable cause to believe that they are a
               threat of harm to themselves or others;

            h. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately secure proper training for
               administrators on how to conduct a proper risk assessment when
               students are suicidal;

            i. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately secure proper training for
               administrators to ask students and family members whether a
               students owns or has access to deadly weapons, including firearms,
               when appropriate to assess the level of safety risk;

            j. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately secure proper training for
               administrators and other staff as to when and how to conduct a legal
               search of student belongings, including backpacks and lockers;

            k. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to publicly retract all statements made in the
               course of its cover story after the shooting, including a retraction of
               all statements suggesting that Defendants Hopkins and Ejak acted
               properly in releasing Doe from the counseling office and returning
                                         60
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                him to the classroom, even though he was suicidal, based on the
                assertion that there was no “disciplinary issue” that could be used to
                restrict him to the counseling office or other safe location, without
                returning him to class; and

             l. All other prospective equitable and injunctive relief this Honorable
                Court deems necessary to restore Plaintiffs’ property rights to a full
                public education, as protected by the Due Process Clause of the
                Fourteenth Amendment.

                            COUNT II:
        PROSPECTIVE EQUITABLE AND INJUNCTIVE RELIEF FOR
           MONELL LIABILITY UNDER 42 U.S.C. § 1983, § 1988
                     STATE-CREATED DANGER
                      DEFEDANT OXFORD CSD

      232. Plaintiffs reallege and incorporate by reference the allegations

contained in the previous paragraphs.

      233. As citizens and/or legal residents of the United States, Plaintiffs were

entitled to all rights, privileges, and immunities accorded to all citizens and/or legal

residents of the State of Michigan and of the United States.

      234. Pursuant to the Fourteenth Amendment of the United States

Constitution, as enforced under the 42 U.S.C. § 1983, and at all times relevant to the

Complaint, Plaintiffs had a clearly established right to be free from danger created

and/or increased by the Defendants Ejak and Hopkins.

      235. At all times relevant to this Complaint, Defendant Oxford CSD failed

to adequately train, discipline, and supervise former-Superintendent Throne and

Defendants Wolf, Ejak, and Hopkins, promulgating and maintaining de facto

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unconstitutional customs, policies, and/or practices, rendering Defendant Oxford

CSD liable for the constitutional violations alleged herein under Monell v. Dept. of

Social Services of the City of New York, 436 U.S. 658 (1978).

      236. At all times relevant to this Complaint, Defendant Oxford CSD knew

or should have known that the policies, procedures, training, supervision, and

discipline of Throne and Defendants Wolf, Ejak, and Hopkins were inadequate for

the responsibility Defendant Oxford CSD owed to the students at Oxford High

School, including all Plaintiffs.

      237. At all times relevant to this Complaint, Defendant Oxford CSD knew

or should have known that the policies, procedures, training, supervision, and

discipline of Throne and Defendants Wolf, Ejak, and Hopkins failed to establish,

implement,    and/or    execute     adequate policies,   procedures,   rules,   and/or

regulations to ensure that the actions or omissions of its above-mentioned teachers,

counselors, and other staff members did not create or increase the risk to

which Plaintiffs would be exposed from private acts of violence.

      238. At all times relevant to this Complaint, Defendant Oxford CSD failed

to establish, implement, and/or execute adequate policies, procedures, rules, and

regulations to ensure that its teachers, counselors, and other staff members refrain

from taking actions that create or increase a risk of harm to all students at Oxford

High School, including Plaintiffs.


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       239. At all times relevant to this Complaint, Defendant Oxford CSD knew

or should have known of a history, custom, propensity, and/or pattern for Throne

and Defendants Wolf, Ejak, Hopkins, and other employees of Oxford High School

to fail to properly identify a student with suicidal and homicidal tendencies and to

act in such a way that created a risk of harm to students at Oxford High School and/or

increased a risk of harm to students at Oxford High School, including Plaintiffs.

      240. Defendant Oxford CSD explicitly and implicitly authorized, approved,

and/or knowingly acquiesced in the deliberate indifference of its teachers,

counselors, and other staff members as to the strong likelihood that constitutional

violations, such as those apparent in the instant case, would occur, and Defendant

Oxford CSD pursued policies, practices, and/or customs that were a direct and

proximate cause of the deprivations of the constitutional rights of all students at

Oxford High School, including Plaintiffs.

      241. At all times relevant to this Complaint, Defendant Oxford CSD knew

that its policies, procedures, customs, propensities, and/or patterns of supervising a

student with suicidal and homicidal tendencies would deprive citizens and/or legal

residents, such as Plaintiffs, of their constitutional rights.

       242. At all times relevant to this Complaint, Defendant Oxford CSD knew

that its policies, procedures, customs, propensities, and/or patterns allowed or

provided discretion to principals, counselors, teachers, and other staff to return a


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student with suicidal and homicidal tendencies to his classroom such that their

actions created a risk of harm and/or an increased risk of harm to the students at

Oxford High School, including Plaintiffs, prior to involving the liaison police officer

and/or other local law enforcement and/or obtaining permission from the same.

      243. Defendant Oxford CSD and its administrators and policymakers,

including former-Superintendent Throne, Principal Wolf, and Dean of Students

Ejak, adopted and maintained policies, procedures, customs, propensities, practices,

and/or patterns that were the moving force behind, and the cause-in-fact of, the

school shooting on November 30, 2021. These policies, procedures, customs,

propensities, practices, and/or patterns include but are not limited to the following:

             a. An official policy, practice, and/or custom of preventing staff and
                administrators from maintaining administrative supervision over
                students in the counseling office, and of restricting students from
                returning to the classroom, unless there exists a “disciplinary issue”
                to justify doing so;

             b. A policy, practice, and/or custom of concealment,
                misrepresentation, minimization or avoidance, and non-escalation
                to higher authorities, including law enforcement, of suspected or
                known risks of school violence;

             c. A policy, practice, and/or custom of failing to train staff or
                administrators, including Defendants Ejak and Hopkins, to secure or
                hold a student in the counseling office, or to otherwise restrict a
                student from returning to the classroom, where the student is
                suicidal or is displaying homicidal tendencies, where the student
                presents a threat of harm to himself/herself or others, and where
                returning the suicidal student to the classroom environment would
                create or increase the danger of deadly violence;


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            d. A policy, practice, and/or custom of failing to train staff or
               administrators, including Defendant Ejak and Hopkins, in the proper
               manner in which to interview and/or question a student who is
               known to be suicidal or who is known to display homicidal
               tendencies, including but not limited to questions about whether the
               student owns a deadly weapon, including a firearm, whether the
               student has access to a deadly weapon, including a firearm, and
               whether the student has possession of a deadly weapon, including a
               firearm;

            e. A policy, practice, and/or custom of permitting its staff and
               administrators to refrain from immediately reporting or filing
               mandatory reports of known or suspected acts of child abuse or
               neglect in contravention and violation of MCL § 722.623(a);

            f. A policy, practice, and/or custom of failing to train staff or
               administrators, including Defendant Ejak and Hopkins, in proper
               methods for completing a risk assessment;

            g. A policy, practice, and/or custom of permitting its staff and
               administrators, including Ejak and Hopkins, disregard and divert
               student mental health crises when those crises do not fit within
               Defendant Oxford CSD’s definition of a “disciplinary” issue;

            h. A policy, practice, and/or custom of permitting its staff and
               administrators, including Ejak and Hopkins, to refrain from
               immediately reporting or filing mandatory reports of known or
               suspected acts of child abuse or neglect in contravention and
               violation of MCL § 722.623(a);

            i. A policy, practice, and/or custom of discouraging teachers,
               counselors, and administrators from reporting suspected acts of
               child abuse or neglect, despite their status as mandatory reporters;

            j. A policy, practice, and/or custom of requiring additional and
               unnecessary procedures to approve a teacher, counselor, or
               administrator’s request to file a report of suspected child abuse or
               neglect;



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             k. A policy, practice, and/or custom of requiring additional and
                unnecessary procedures to contact law enforcement, regarding a
                threat of violence at school;

             l. A policy, practice, and/or custom of adopting and maintaining
                inadequate and improper search policies; and

             m. Any other policy, practice, and/or custom that may become known
                throughout the course of this litigation.

      244. By inadequately training and/or supervising its principals, counselors,

and teachers, and by having a custom or policy of deliberate indifference to the

constitutional rights of their citizens and/or legal residents and students, Defendant

Oxford CSD encouraged and cultivated the conduct that violated Plaintiffs’ rights

under the Fourteenth Amendment to the United States Constitution, and pursuant to

42 U.S.C. § 1983, thereby increasing the risk that Plaintiffs would be exposed to

Doe’s acts of violence.

      245. As a direct and/or proximate result of the above-described conduct of

Defendant Oxford CSD, Plaintiffs have suffered and will continue in the future to

suffer irreparable harm, including but not limited to: (a) fright, shock, and terror; (b)

loss of trust; (c) conscious pain and suffering; (d) emotional distress; (e) mental

anguish; (f) Post-Traumatic Stress Disorder; (g) depression and anxiety; (h)

disruption of their lives; and (i) humiliation and/or mortification.

      246. To redress and remedy these unconstitutional policies, practices, and/or

customs, Plaintiffs request the following prospective and injunctive relief:


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            a. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately conduct an independent and
               fully transparent third-party investigation of the events that
               transpired prior to the school shooting on November 30, 2021;

            b. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately cease its policy, practice,
               and/or custom of concealment, misrepresentation, minimization or
               avoidance, and non-escalation to higher authorities, including law
               enforcement, of suspected or known risks of school violence;

            c. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately reform its policy of
               prohibiting administrators from holding students out of the
               classroom, even where they are suicidal and where there is probable
               cause to know that they pose a risk of harm to themselves and others,
               so long as the circumstances do not present a “disciplinary” issue.
               So long as this policy is maintained, Defendant Oxford CSD will
               continue to place suicidal students in the classroom even where they
               pose a threat to themselves and others, as happened when Doe was
               released from the counseling office to the classroom on November
               30, 2021;

            d. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately reform its policy, practice,
               and/or custom of offering information that falls short of full
               transparency to parents and students, especially when such
               information concerns potential threats of safety and violence to the
               students and occupants at Oxford High School;

            e. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately reform its policy, practice,
               and/or custom of permitting its staff and administrators to refrain
               from immediately reporting or filing mandatory reports of known or
               suspected acts of child abuse or neglect in contravention and
               violation of MCL § 722.623(a);

            f. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately secure proper training for
               administrators and staff by way of contacting an organization, such
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               as NCSS, to provide assistance for the return to school and for the
               implementation of safety policies and/or procedures before the start
               of the coming 2022-2023 school year at Oxford High School;

            g. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately secure proper training for
               administrators to understand that they can hold and/or restrict
               students in the counseling office, and not return them to class, if they
               are suicidal or if there is probable cause to believe that they are a
               threat of harm to themselves or others;

            h. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately secure proper training for
               administrators on how to conduct a proper risk assessment when
               students are suicidal;

            i. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately secure proper training for
               administrators to ask students and family members whether a
               students owns or has access to deadly weapons, including firearms,
               when appropriate to assess the level of safety risk;

            j. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to immediately secure proper training for
               administrators and other staff as to when and how to conduct a legal
               search of student belongings, including backpacks and lockers;

            k. An order requiring Defendant Oxford CSD and/or Defendant
               Superintendent Weaver to publicly retract all statements made in the
               course of its cover story after the shooting, including a retraction of
               all statements suggesting that Defendants Hopkins and Ejak acted
               properly in releasing Doe from the counseling office and returning
               him to the classroom, even though he was suicidal, based on the
               assertion that there was no “disciplinary issue” that could be used to
               restrict him to the counseling office or other safe location, without
               returning him to class; and

            l. All other prospective equitable and injunctive relief this Honorable
               Court deems necessary to restore Plaintiffs’ clearly established
               rights to be free from danger created and/or increased by Defendants
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                 Ejak and Hopkins, as protected by the Due Process Clause of the
                 Fourteenth Amendment.

  COUNT III: PROSPECTIVE EQUITABLE AND INJUNCTIVE RELIEF
 FOR VIOLATION OF CIVIL RIGHTS UNDER 14TH AMENDMENT AND
                     42 U.S.C. § 1983, § 1988
    STATE-CREATED DANGER – DELIBERATE INDIFFERENCE
                DEFENDANTS EJAK AND HOPKINS

      247. Plaintiffs reallege and incorporate by reference the allegations

contained in the previous paragraphs.

      248. As citizens and/or legal residents of the United States, Plaintiffs were

entitled to all rights, privileges, and immunities accorded to all citizens and/or legal

residents of the State of Michigan and of the United States.

      249. Pursuant to the Fourteenth Amendment of the United States

Constitution, as enforced under the 42 U.S.C. § 1983, and at all times relevant to the

Complaint, Plaintiffs had a clearly established right to be free from danger created

and/or increased by the Defendants Ejak and Hopkins.

      250. Any reasonable person would be aware of this clearly established

constitutional right.

      251. Defendants Ejak and Hopkins, with knowledge of this clearly

established right, and acting in deliberate indifference, violated the right of all

Plaintiffs to be free from violence without due process, as secured by the Fourteenth

Amendment’s Due Process Clause, by taking affirmative acts under color of law to

disrupt the status quo and create a danger of severe injury that did not exist in the
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status quo prior to those affirmative state actions, and by taking affirmative acts that

caused severe injuries to Plaintiffs, which would not have happened but-for the

affirmative state actions of Defendants Ejak and Hopkins.

      252. At all times relevant to this Complaint, Defendants Ejak and Hopkins

were acting under the color of state law and created or increased a state-created

danger by substantially increasing the risk of harm to Plaintiffs and in reckless

disregard to Plaintiffs, thereby increasing the risk that Plaintiffs would be exposed

to Doe’s acts of violence.

      253. The actions of Defendants Ejak and Hopkins, under the Fourteenth

Amendment to the United States Constitution and pursuant to 42 U.S.C. § 1983 and

§ 1988, were performed under the color of state law and were objectively

unreasonable.

      254. The actions of Defendants Ejak and Hopkins, under the Fourteenth

Amendment to the United States Constitution and pursuant to 42 U.S.C. § 1983 and

§ 1988, were performed knowingly, deliberately, and/or indifferently to Plaintiffs

and in reckless disregard to their safety.

      255. Defendants Ejak and Hopkins were acting under the color of state law

as employees of Defendant Oxford CSD, a public school district, when they deprived

Plaintiffs of their clearly established rights, privileges, and immunities in violation




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of the Fourteenth Amendment to the United States Constitution and pursuant to 42

U.S.C. § 1983 and § 1988.

      256. Defendants Ejak and Hopkins exhibited deliberate indifference,

pursuant to the Fourteenth Amendment to the United States Constitution, by

taking affirmative action(s), which resulted in all students at Oxford High School,

including Plaintiffs, being less safe than they were before the actions of Defendants

Ejak and Hopkins. The actions of Defendants Ejak and Hopkins created the danger

and increased the risk of harm that the students at Oxford High School, including

Plaintiffs, would be exposed to private acts of violence, to wit:

             a. Deliberately, intentionally, and recklessly returning Doe to class on
                November 30, 2021, despite having knowledge of Doe’s concerning
                suicidal or homicidal behavior;

             b. Deliberately, intentionally, and recklessly returning Doe to class on
                November 30, 2021, where he had access to a loaded Sig Sauer 9-
                millimeter semi-automatic handgun;

             c. Deliberately, intentionally, and recklessly deciding to refrain from
                involving the liaison police officer or other local law enforcement
                in investigation, despite Doe’s concerning behavior;

             d. Deliberately, intentionally, and recklessly deciding to refrain from
                searching Doe’s backpack, which contained the shooting weapon
                and/or involve appropriate police authorities so that a proper and
                lawful search of Doe’s backpack could be performed;

             e. Deliberately, intentionally, and recklessly refraining from
                immediately reporting or filing mandatory reports of known or
                suspected acts of child abuse or neglect in contravention and
                violation of MCL § 722.623(a);

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             f. Deliberately, intentionally, and recklessly deciding to refrain from
                reporting to proper police authorities Doe’s internet search history
                for ammunition the day before the shooting;

             g. Deliberately, intentionally, and recklessly deciding to refrain from
                reporting the child abuse and neglect of Doe to Child Protective
                Services;

             h. Interviewing Doe in front and in the presence of Doe’s parents,
                knowing that such an interview would accelerate any violence Doe
                had planned;

             i. Failing to insist on removing Doe from school property after
                credible threat of Doe’s suicidal and/or homicidal ideation;

             j. Deliberately choosing to refrain from having appropriate mental
                health intervention for Doe prior to returning Doe to the classroom
                with a Sig Sauer 9-millimeter semi-automatic handgun;

             k. Demonstrating conduct so reckless as to show a substantial lack of
                concern for whether any injury would result;

             l. Wrongfully causing Plaintiffs to suffer extreme emotional distress;

             m. Enforcing the deficient and faulty policies, procedures, and
                practices, as are set forth in Count II, infra, as well as all others
                previously described in this Complaint; and

             n. Other acts or omissions to be revealed through discovery.

      257. All of the above alleged conduct substantially increased the risk of

harm to Plaintiffs, who were safer before Defendants Ejak and Hopkins took the

affirmative acts described herein.

      258. As a direct and/or proximate result of the above-described conduct of

Defendants Ejak and Hopkins, Plaintiffs have suffered and will continue in the


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future to suffer irreparable harm, including but not limited to: (a) fright, shock, and

terror; (b) loss of trust; (c) conscious pain and suffering; (d) emotional distress; (e)

mental anguish; (f) Post-Traumatic Stress Disorder; (g) depression and anxiety; (h)

disruption of their lives; and (i) humiliation and/or mortification.

      259. To redress and remedy these unconstitutional practices, Plaintiffs

request the following prospective and injunctive relief:

             a. An order requiring Defendants Ejak and Hopkins to cooperate fully
                upon implementation of an independent and fully transparent third-
                party investigation of the events that transpired prior to the school
                shooting on November 30, 2021;

             b. An order requiring Defendants Ejak and Hopkins to immediately
                cease their practice and/or custom of concealment,
                misrepresentation, minimization or avoidance, and non-escalation
                to higher authorities, including law enforcement, of suspected or
                known risks of school violence;

             c. An order requiring Defendants Ejak and Hopkins to immediately
                cease their practice and/or custom of holding students out of the
                classroom, even where they are suicidal and where there is probable
                cause to know that they pose a risk of harm to themselves and others,
                so long as the circumstances do not present a “disciplinary” issue.
                So long as Defendants Ejak and Hopkins maintain this practice
                and/or custom, they will continue to place suicidal students in the
                classroom even where they pose a threat to themselves and others,
                as happened when Doe was released from the counseling office to
                the classroom on November 30, 2021;

             d. An order requiring Defendants Ejak and Hopkins to immediately
                cease their practice and/or custom of refraining from immediately
                reporting or filing mandatory reports of known or suspected acts of
                child abuse or neglect in contravention and violation of MCL §
                722.623(a);


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            e. An order requiring Defendants Ejak and Hopkins to immediately
               cease their practice and/or custom of offering information that falls
               short of full transparency to parents and students, especially when
               such information concerns potential threats of safety and violence to
               the students and occupants at Oxford High School;

            f. An order requiring Defendants Ejak and Hopkins to immediately
               undergo proper training to provide assistance for the return to school
               and for the implementation of safety policies and/or procedures
               before the start of the coming 2022-2023 school year at Oxford High
               School;

            g. An order requiring Defendants Ejak and Hopkins to immediately
               undergo proper training to understand that they can hold and/or
               restrict students in the counseling office, and not return them to
               class, if they are suicidal or if there is probable cause to believe that
               they are a threat of harm to themselves or others;

            h. An order requiring Defendants Ejak and Hopkins to immediately
               undergo proper training on how to conduct a proper risk assessment
               when students are suicidal;

            i. An order requiring Defendants Ejak and Hopkins to immediately
               undergo proper training to ask students and family members
               whether a students owns or has access to deadly weapons, including
               firearms, when appropriate to assess the level of safety risk;

            j. An order requiring Defendants Ejak and Hopkins to immediately
               undergo proper training as to when and how to conduct a legal
               search of student belongings, including backpacks and lockers;

            k. An order requiring Defendants Ejak and Hopkins to publicly retract
               all statements made in the course of the cover story after the
               shooting, including a retraction of all statements suggesting that
               Defendants Hopkins and Ejak acted properly in releasing Doe from
               the counseling office and returning him to the classroom, even
               though he was suicidal, based on the assertion that there was no
               “disciplinary issue” that could be used to restrict him to the
               counseling office or other safe location, without returning him to
               class; and
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             l. All other prospective equitable and injunctive relief this Honorable
                Court deems necessary to restore Plaintiffs’ clearly established
                rights to be free from danger created and/or increased by Defendants
                Ejak and Hopkins, as protected by the Due Process Clause of the
                Fourteenth Amendment.

  COUNT IV: PROSPECTIVE EQUITABLE AND INJUNCTIVE RELIEF
 FOR VIOLATION OF CIVIL RIGHTS UNDER 14TH AMENDMENT AND
                    42 U.S.C. § 1983, § 1988
    STATE-CREATED DANGER – DELIBERATE INDIFFERENCE
                     DEFENDANT WOLF

      260. Plaintiffs reallege and incorporate by reference the allegations

contained in the previous paragraphs.

      261. As citizens and/or legal residents of the United States, Plaintiffs were

entitled to all rights, privileges, and immunities accorded to all citizens and/or legal

residents of the State of Michigan and of the United States.

      262. Pursuant to the Fourteenth Amendment of the United States

Constitution, as enforced under the 42 U.S.C. § 1983, and at all times relevant to the

Complaint, Plaintiffs had a clearly established right to be free from danger created

and/or increased by the Defendant Wolf.

      263. Any reasonable person would be aware of this clearly established

constitutional right.

      264. Defendant Wolf, with knowledge of this clearly established right, and

acting in deliberate indifference, violated the right of all Plaintiffs to be free from

violence without due process, as secured by the Fourteenth Amendment’s Due
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Process Clause, by taking affirmative acts under color of law to disrupt the status

quo and create a danger of severe injury that did not exist in the status quo prior to

those affirmative state actions, and by taking affirmative acts that caused severe

injuries to Plaintiffs, which would not have happened but-for the affirmative state

actions of Defendant Wolf.

       265. At all times relevant to this Complaint, Defendant Wolf was acting

under the color of state law as an employee of Defendant Oxford CSD, a public

school district, when he, among other things, acted to maintain school safety; to

investigate violent behavior within and threats of violence directed at the public

school district; to take action and make decisions regarding school practices and

procedures, both formal and informal; and to conduct himself as a school

administrator.

       266. The actions of Defendant Wolf, under the Fourteenth Amendment to

the United States Constitution and 42 U.S.C. §1983 and §1988, were all performed

under the color of state law and were objectively unreasonable and performed

knowingly, deliberately, and/or indifferently to Plaintiffs in reckless disregard to the

safety of Plaintiffs.

       267. Defendant Wolf was acting under the color of state law when he

deprived Plaintiffs of their clearly established rights, privileges, and immunities in




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violation of the Fourteenth Amendment of the Constitution of the United States and

of 42 U.S.C. §1983 and §1988.

      268. Defendant Wolf knew that there were active threats of violence that

compromised student safety at Oxford High School throughout the weeks and

months leading up to the school shooting on November 30, 2021, and that those

active threats had not been formally or fully investigated.

      269. As a school administrator, Defendant Wolf had the authority and

obligation to maintain school safety and to investigate fully and completely all

violence within the Oxford School District and all threats to the safety of the Oxford

School District’s students, including a full and complete investigation into the

identity of the person who had left severed animal heads on the property and within

the buildings of the Oxford High School.

      270. Defendant       Wolf    took affirmative   action(s)      that   created   and

substantially increased the danger that Doe’s conduct would escalate to actual

violence, thus causing severe and grievous injuries to Plaintiffs.

      271. The affirmative actions and conduct of Defendant Wolf in the weeks

leading up to the school shooting on November 30, 2021, which created and/or

increased the risk of harm to the students at Oxford High School, including

Plaintiffs, in reckless disregard for their safety, non-exhaustively include:

             a. Deliberately, intentionally, and recklessly concealing facts from
                appropriate law enforcement as to the severed bird head Doe placed
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                in the boys’ bathroom mere weeks before the shooting on November
                30, 2021;

             b. Deliberately, intentionally, and recklessly concealing facts from the
                students and parents at Oxford High School of ongoing violence at
                the school, and, instead, falsely assuring the students and parents at
                Oxford High School that there were no threats to school safety that
                should be of concern within the days and weeks leading up to the
                shooting;

             c. Deliberately discouraging students at Oxford High School from
                taking seriously the threats students had perceived, regarding their
                safety, and instructing students to stop talking about and/or sharing
                the threatening information they find on social media;

             d. Promoting a policy, practice, and/or custom of misrepresentation,
                minimization or avoidance, and non-escalation of suspected or
                known risks of school violence; and

             e. Any and all additional breaches that created or increased the danger
                of violence at Oxford High School that may become known through
                the course of this litigation.

      272. The foregoing non-exhaustive list of described actions and conduct of

Defendant Wolf was a proximate cause of the Plaintiffs’ injuries.

      273. At all relevant times, the actions of Defendant Wolf, by advising all

students at Oxford High School, including Plaintiffs, that no credible threat

existed, demonstrated conduct so reckless as to demonstrate a substantial lack of

concern for whether an injury would result.

      274. At all times relevant herein, Plaintiffs were safer before Defendant

Wolf took action and advised all students at Oxford High School, including



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Plaintiffs, that there was no credible threat. By virtue of his actions, Defendant

Wolf each substantially increased the harm to Plaintiffs.

      275. Had Defendant Wolf conducted a reasonable investigation into the

threats of violence made towards Oxford High School and against its students,

including the severed bird head that had been left in the boys’ bathroom,

Defendant Wolf would have found that Doe was the perpetrator of the above-

mentioned threats and was the individual who severed the bird’s head, as such

information was readily accessible on Doe’s publicly accessible media accounts

and pages. At that time, Oxford High School would have removed Doe from

school, and the mass school shooting that took place on November 30, 2021,

would never have occurred and Plaintiffs would not have sustained the severe

injuries they sustained on that day.

      276. The affirmative acts of Defendant Wolf created a state-created danger

that substantially increased the special danger of harm to Plaintiffs and all other

students at Oxford High School, as can be distinguished from a risk that would

have affected the public at large.

      277. The conduct of Defendant Wolf was objectively unreasonable, and he

performed such conduct knowingly, deliberately, and with deliberate indifference

to the safety of Plaintiffs, causing all students and occupants at Oxford High




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School to be less safe than they were before Defendant Wolf took the affirmative

actions as described above.

      278. But for the affirmative acts of Defendant Wolf, Doe would not have

committed the school shooting at Oxford High School on November 30, 2021.

      279. The fact Defendant Wolf decided to refrain from reporting the severed

bird head incident to law enforcement and from investigating the active threats of

violence that were made towards Oxford High School and against its students—

and, instead, Defendant Wolf affirmatively acted to provide a knowingly false

sense of security to the students and parents at Oxford High School and, even more

shockingly, to tell the students at Oxford High School they were not to talk about

or discuss threats made on social media—is shocking to the conscience.

      280. The affirmative acts of Defendant Wolf specifically presented the

students at Oxford High School, including Plaintiffs, with a specific risk of

dangers.

      281. In comparison with the public, at large, the students at Oxford High

School, including Plaintiffs, were specifically at-risk and exposed to the dangers

presented due to the affirmative acts of Defendant Wolf in allowing Doe to

matriculate through the school environment.

      282. As a direct and/or proximate result of the above-described conduct of

Defendant Wolf, Plaintiffs have suffered and will continue in the future to suffer


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irreparable harm, including but not limited to: (a) fright, shock, and terror; (b) loss

of trust; (c) conscious pain and suffering; (d) emotional distress; (e) mental

anguish; (f) Post-Traumatic Stress Disorder; (g) depression and anxiety; (h)

disruption of their lives; and (i) humiliation and/or mortification.

      283. To redress and remedy these unconstitutional practices, Plaintiffs

request the following prospective and injunctive relief:

             a. An order requiring Defendant Wolf to cooperate fully upon
                implementation of an independent and fully transparent third-party
                investigation of the events that transpired prior to the school
                shooting on November 30, 2021;

             b. An order requiring Defendant Wolf to immediately cease his
                practice and/or custom of concealment, misrepresentation,
                minimization or avoidance, and non-escalation to higher authorities,
                including law enforcement, of suspected or known risks of school
                violence;

             c. An order requiring Defendant Wolf to immediately cease his
                practice and/or custom of holding students out of the classroom,
                even where they are suicidal and where there is probable cause to
                know that they pose a risk of harm to themselves and others, so long
                as the circumstances do not present a “disciplinary” issue. So long
                as Defendant Wolf maintains this practice and/or custom, he will
                continue to place suicidal students in the classroom even where they
                pose a threat to themselves and others, as happened when Doe was
                released from the counseling office to the classroom on November
                30, 2021;

             d. An order requiring Defendant Wolf to immediately cease his
                practice and/or custom of refraining from immediately reporting or
                filing mandatory reports of known or suspected acts of child abuse
                or neglect in contravention and violation of MCL § 722.623(a);



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            e. An order requiring Defendant Wolf to immediately cease his
               practice and/or custom of offering information that falls short of full
               transparency to parents and students, especially when such
               information concerns potential threats of safety and violence to the
               students and occupants at Oxford High School;

            f. An order requiring Defendant Wolf to immediately undergo proper
               training to provide assistance for the return to school and for the
               implementation of safety policies and/or procedures before the start
               of the coming 2022-2023 school year at Oxford High School;

            g. An order requiring Defendant Wolf to immediately undergo proper
               training to understand that he can hold and/or restrict students in the
               counseling office, and not return them to class, if they are suicidal
               or if there is probable cause to believe that they are a threat of harm
               to themselves or others;

            h. An order requiring Defendant Wolf to immediately undergo proper
               training on how to conduct a proper risk assessment when students
               are suicidal;

            i. An order requiring Defendant Wolf to immediately undergo proper
               training to ask students and family members whether a students
               owns or has access to deadly weapons, including firearms, when
               appropriate to assess the level of safety risk;

            j. An order requiring Defendant Wolf to immediately undergo proper
               training as to when and how to conduct a legal search of student
               belongings, including backpacks and lockers;

            k. An order requiring Defendant Wolf to publicly retract all statements
               made in the course of the cover story after the shooting, including a
               retraction of all statements suggesting that Defendants Ejak and
               Hopkins acted properly in releasing Doe from the counseling office
               and returning him to the classroom, even though he was suicidal,
               based on the assertion that there was no “disciplinary issue” that
               could be used to restrict him to the counseling office or other safe
               location, without returning him to class; and



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             l. All other prospective equitable and injunctive relief this Honorable
                Court deems necessary to restore Plaintiffs’ clearly established
                rights to be free from danger created and/or increased by Defendant
                Wolf, as protected by the Due Process Clause of the Fourteenth
                Amendment.

  COUNT V: PROSPECTIVE EQUITABLE AND INJUNCTIVE RELIEF
 FOR VIOLATION OF CIVIL RIGHTS UNDER 14TH AMENDMENT AND
                    42 U.S.C. § 1983, § 1988
      STATE-CREATED DANGER – SUPERVISORY LIABILITY
                     DEFENDANT WOLF

      284. Plaintiffs reallege and incorporate by reference the allegations

contained in the previous paragraphs.

      285. At all times relevant to this Complaint, Defendant Wolf was the

principal at Oxford High School and, as such, directly supervised and oversaw the

actions of Defendants Ejak and Hopkins and encouraged the specific incident of

misconduct or directly participated in the specific incident of misconduct by failing

to expel, discipline, and/or provide proper supervision for Doe and failing to inform

the liaison police officer or local law enforcement about Doe’s violent plans.

      286. By inadequately training and/or supervising their teachers, counselors,

and dean of students; by having a custom or policy of indifference to the

constitutional rights of their citizens and/or legal residents; and/or by failing to

adequately supervise the school shooter, Doe, Defendant Wolf encouraged and

cultivated the conduct that then caused a violation of Plaintiffs’ rights under the

Fourteenth Amendments of the United States Constitution.

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      287. By       failing   to    expel,    discipline,   search,       and/or   provide

proper supervision for Doe, Defendant Wolf authorized, approved, and/or

knowingly acquiesced in the unconstitutional conduct of Defendants Ejak and

Hopkins.

      288. As citizens and/or legal residents of the United States, Plaintiffs were

entitled to all rights, privileges, and immunities accorded to all citizens and/or legal

residents of the State of Michigan and of the United States.

      289. Pursuant to the Fourteenth Amendment of the United States

Constitution, as enforced under the 42 U.S.C. § 1983, and at all times relevant to the

Complaint, Plaintiffs had a clearly established right to be free from danger created

and/or increased by the Defendants Wolf, Ejak and Hopkins.

      290. The actions and omissions of Defendants Wolf, Ejak, and Hopkins,

under the Fourteenth Amendment to the United States Constitution and pursuant to

42 U.S.C. §1983 and §1988, were all performed under the color of state law and

were objectively unreasonable and performed knowingly, deliberately, and

indifferently to Plaintiffs and in reckless disregard for their safety.

      291. Defendants Wolf, Ejak, and Hopkins were acting under the color of

state law when they deprived Plaintiffs of their clearly established rights, privileges,

and immunities in violation of the Fourteenth Amendment of the Constitution of the

United States and of 42 U.S.C. §1983 and §1988.

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      292. Defendants Wolf, Ejak, and Hopkins exhibited deliberate indifference,

pursuant to the Fourteenth Amendment to the United States Constitution, to a

citizen’s right to be free from acts that create and/or increase the risk of harm that an

individual will be exposed to private acts of violence, to wit:

          a. Deliberately, intentionally, and recklessly returning Doe to class
             on November 30, 2021, despite having knowledge of Doe’s concerning
             suicidal or homicidal behavior;

          b. Deliberately, intentionally, and recklessly returning Doe to class
             on November 30, 2021, where he had access to a loaded Sig Sauer 9-
             millimeter semi-automatic handgun;

          c. Deliberately, intentionally, and recklessly deciding to refrain from
             involving the liaison police officer or other local law enforcement in
             investigation, despite Doe’s concerning behavior;

          d. Deliberately, intentionally, and recklessly deciding to refrain from
             searching Doe’s backpack, which contained the shooting weapon
             and/or involve appropriate police authorities so that a proper and lawful
             search of Doe’s backpack could be performed;

          e. Deliberately, intentionally, and recklessly refraining from immediately
             reporting or filing mandatory reports of known or suspected acts of
             child abuse or neglect in contravention and violation of MCL §
             722.623(a);

          f. Deliberately, intentionally, and recklessly deciding to refrain from
             reporting Doe’s internet search history for ammunition to proper police
             authorities the day before the shooting;

          g. Deliberately, intentionally, and recklessly deciding to refrain from
             reporting the child abuse and neglect of Doe to Child Protective
             Services;




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          h. Interviewing Doe in front and in the presence of Doe’s parents,
             knowing that such an interview would accelerate any violence Doe had
             planned;

          i. Failing to insist on removing Doe from school property after credible
             threat of Doe’s suicidal and/or homicidal ideation.

          j. Deliberately choosing to refrain from having appropriate mental health
             intervention for Doe prior to returning Doe to the classroom with a Sig
             Sauer 9-millimeter semi-automatic handgun;

          k. Demonstrating conduct so reckless as to show a substantial lack of
             concern for whether any injury would result;

          l. Wrongfully causing Plaintiffs to suffer extreme emotional distress;

          m. Enforcing the deficient and faulty policies, procedures, and practices,
             as are set forth in Count II, infra, as well as all others previously
             described in this Complaint; and

          n. Other acts or omissions to be revealed through discovery.

      293. As a direct and/or proximate result of the above-described conduct of

Defendant Wolf, Plaintiffs have suffered and will continue in the future to suffer

irreparable harm, including but not limited to: (a) fright, shock, and terror; (b) loss

of trust; (c) conscious pain and suffering; (d) emotional distress; (e) mental anguish;

(f) Post-Traumatic Stress Disorder; (g) depression and anxiety; (h) disruption of their

lives; and (i) humiliation and/or mortification.

      294. To redress and remedy these unconstitutional practices, Plaintiffs

request the following prospective and injunctive relief:

             a. An order requiring Defendant Wolf to cooperate fully upon
                implementation of an independent and fully transparent third-party
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               investigation of the events that transpired prior to the school
               shooting on November 30, 2021;

            b. An order requiring Defendant Wolf to immediately cease his
               practice and/or custom of concealment, misrepresentation,
               minimization or avoidance, and non-escalation to higher authorities,
               including law enforcement, of suspected or known risks of school
               violence;

            c. An order requiring Defendant Wolf to immediately cease his
               practice and/or custom of holding students out of the classroom,
               even where they are suicidal and where there is probable cause to
               know that they pose a risk of harm to themselves and others, so long
               as the circumstances do not present a “disciplinary” issue. So long
               as Defendant Wolf maintains this practice and/or custom, he will
               continue to place suicidal students in the classroom even where they
               pose a threat to themselves and others, as happened when Doe was
               released from the counseling office to the classroom on November
               30, 2021;

            d. An order requiring Defendant Wolf to immediately cease his
               practice and/or custom of refraining from immediately reporting or
               filing mandatory reports of known or suspected acts of child abuse
               or neglect in contravention and violation of MCL § 722.623(a);

            e. An order requiring Defendant Wolf to immediately cease his
               practice and/or custom of offering information that falls short of full
               transparency to parents and students, especially when such
               information concerns potential threats of safety and violence to the
               students and occupants at Oxford High School;

            f. An order requiring Defendant Wolf to immediately undergo proper
               training to provide assistance for the return to school and for the
               implementation of safety policies and/or procedures before the start
               of the coming 2022-2023 school year at Oxford High School;

            g. An order requiring Defendant Wolf to immediately undergo proper
               training to understand that he can hold and/or restrict students in the
               counseling office, and not return them to class, if they are suicidal


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               or if there is probable cause to believe that they are a threat of harm
               to themselves or others;

            h. An order requiring Defendant Wolf to immediately undergo proper
               training on how to conduct a proper risk assessment when students
               are suicidal;

            i. An order requiring Defendant Wolf to immediately undergo proper
               training to ask students and family members whether a students
               owns or has access to deadly weapons, including firearms, when
               appropriate to assess the level of safety risk;

            j. An order requiring Defendant Wolf to immediately undergo proper
               training as to when and how to conduct a legal search of student
               belongings, including backpacks and lockers;

            k. An order requiring Defendant Wolf to publicly retract all statements
               made in the course of the cover story after the shooting, including a
               retraction of all statements suggesting that Defendants Ejak and
               Hopkins acted properly in releasing Doe from the counseling office
               and returning him to the classroom, even though he was suicidal,
               based on the assertion that there was no “disciplinary issue” that
               could be used to restrict him to the counseling office or other safe
               location, without returning him to class; and

            l. All other prospective equitable and injunctive relief this Honorable
               Court deems necessary to restore Plaintiffs’ clearly established
               rights to be free from danger created and/or increased by Defendant
               Wolf, as protected by the Due Process Clause of the Fourteenth
               Amendment.

                            RELIEF REQUESTED

      295. Plaintiffs reallege and incorporate by reference the allegations

contained in the previous paragraphs.

      296. The conduct, actions, and/or inactions of Defendants, as alleged in the

above-stated counts and causes of action, constitute violations of Plaintiffs’
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Constitutional and Federal rights, and the Eastern District of Michigan Southern

Division has jurisdiction to hear and adjudicate said claims.

      297. In whole or in part, as a result of some or all of the above-mentioned

actions and/or inactions of Defendants, Plaintiffs have suffered and continue to

suffer irreparable harm due to the above-mentioned violations.

      298. Accordingly, Plaintiffs respectfully request this Honorable Court grant

the following relief in accordance with 42 U.S.C. § 1983 and § 1988:

             a. An order of all prospective equitable and injunctive relief described

                in Counts I, II, III, IV, and V of this Complaint;

             b. An award of actual attorney fees and costs pursuant to 42 U.S.C. §

                1988; and

             c. Any further legal and/or other relief that this Court deems equitable

                or just.


                                              Respectfully Submitted,
                                              GREWAL LAW, PLLC



Dated: June 27, 2022                      By: _/s/Scott Weidenfeller____
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